Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 1 of 70 Page ID #:8



  1 Ian R. Feldman (State Bar No. 200308)
    ifeldman@clausen.com
  2
    CLAUSEN MILLER P.C.
  3 27285 Las Ramblas, Suite 200
    Mission Viejo, CA 92691
  4
    Telephone: (949) 260-3100 | Facsimile: (949) 260-3190
  5
  6 Attorney for Defendants BUFFALO WILD WINGS, INC.,
  7
      INSPIRE BRANDS and BLAZIN WINGS, INC.,
      (Erroneously sued as BLAZING WINGS, INC.)
  8
  9                             UNITED STATES DISTRICT COURT
 10                            CENTRAL DISTRICT OF CALIFORNIA
 11 CESAR ROMO,                                      Case No.:
 12               Plaintiff,                         DECLARATION OF IAN R.
 13                                                  FELDMAN IN SUPPORT OF
      vs.                                            DEFENDANTS BUFFALO WILD
 14                                                  WINGS, INC., INSPIRE BRANDS
      BUFFALO WILD WINGS, INC.;
 15 INSPIRE BRANDS; BLAZING WINGS,                   AND BLAZIN WINGS, INC.’S
                                                     NOTICE OF REMOVAL OF
 16 INC. and DOES 1 TO 20, inclusive,                ENTIRE ACTION PURSUANT TO
 17               Defendants.                        28 U.S.C. SECTION 1441(B)
 18                                                  [Concurrently Filed with Notice of
                                                     Removal; Certificate of Interested
 19
                                                     Parties; and Civil Case Cover Sheet]
 20
                                                     Complaint Filed:      January 14, 2022
 21
                                                     Trial:                None Set
 22
 23         I, Ian R. Feldman, declare as follows:
 24         1.    I am an attorney at law duly licensed to practice before all the Courts of
 25 the State of California and am admitted in the United States District Court, Central
 26 District of California. I am a partner with Clausen Miller P.C., counsel for Defendants
 27 BUFFALO WILD WINGS, INC., INSPIRE BRANDS and BLAZIN WINGS, INC.
 28 (erroneously sued as BLAZING WINGS, INC.) (collectively “Defendants”) in the
                                                -1-
                       DECLARATION OF IAN R. FELDMAN RE: NOTICE OF REMOVAL OF ENTIRE ACTION
Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 2 of 70 Page ID #:9



  1 within action. I submit this Declaration in support of Defendants’ Notice of Removal
  2 of the above lawsuit titled Cesar Romo v. Buffalo Wild Wings, Inc., et al., Los Angeles
  3 County Superior Court Case No. 22STCV01720 (“Subject Action”) from the
  4 Los Angeles County Superior Court.
  5         2.    I have personal knowledge of the following facts stated herein and, if
  6 called as a witness, I could and would competently testify thereto.
  7         3.    Attached hereto as Exhibit 1 is a true and correct copy of the Summons
  8 and Complaint filed in the Los Angeles County Superior Court on January 14, 2022.
  9 On March 14, 2022, separate copies of the Summons and Complaint were served on
 10 Buffalo Wild Wings, Inc. On March 15, 2022, separate copies of the Summons and
 11 Complaint were served on Blazin Wings, Inc. (erroneously sued as Blazing Wings,
 12 Inc.). Inspire Brands has not yet been served.
 13         4.    Attached hereto as Exhibit 2 is a true and correct copy of the state court
 14 file to date at the time of this filing, including the Complaint Summons, Complaint,
 15 Civil Case Cover Sheet, Notice of Case Assignment, ADR Package, Proofs of Service
 16 of Summons on Blazin Wings, Inc. and Buffalo Wild Wings, Inc., Standing Orders
 17 (MSC, First Amended, Second Amended, Third Amended), and Voluntary Efficient
 18 Litigation Stipulation Packet.
 19         5.    All Defendants in this matter are represented by Clausen Miller P.C. and
 20 consent to the removal.
 21         6.    On information and belief, based on pre litigation discussions, Plaintiff is
 22 seeking in excess of $75,000. Further, on reason and belief, Plaintiff is an individual
 23 residing in California. The Defendants are foreign entities with their principal places
 24 of business outside of California. Therefore, the statutory requirements to establish
 25 diversity jurisdiction are satisfied.
 26
 27
 28
                                                -2-
                       DECLARATION OF IAN R. FELDMAN RE: NOTICE OF REMOVAL OF ENTIRE ACTION
Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 3 of 70 Page ID #:10



  1           7.    On April 19, 2022, the parties stipulated to allow Defendants additional
  2 time to respond to the Complaint. A true and correct copy of the relative email
  3 correspondence is attached hereto as Exhibit 3.
  4           Executed on May 23, 2022, at Mission Viejo, California.
  5
                                             /s/ Ian R. Feldman
  6
                                             Ian R. Feldman
  7   8243467.1

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                        DECLARATION OF IAN R. FELDMAN RE: NOTICE OF REMOVAL OF ENTIRE ACTION
Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 4 of 70 Page ID #:11




                                                 Exhibit 1

                                       -4-
Electronically FILED by Superior Court of California, County of Los Angeles on 01/14/2022 02:49 PM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Clifton,Deputy Clerk
                  Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 5 of 70 Page ID #:12
                                                  22STCV01720

                                                    SUMMONS                                                                                                           SUM-100
                                          (CITACION JUDICIAL)                                                                             FOR COURT USE ONLY
                                                                                                                                      (SOLO PARA USO DE LA CORTE)

     NOTICE TO DEFENDANT: BUFFALO WILD WINGS, INC.; INSPIRE
     (AVISO AL DEMANDADO): BRANDS; BLAZING WINGS, INC. AND
     DOES 1 THROUGH 20, INCLUSIVE,




     YOU ARE BEING SUED BY PLAINTIFF: CESAR ROMO,
     (LO ESTÁ DEMANDANDO EL DEMANDANTE):



      NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
      below.
         You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
      served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
      case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
      Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
      the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
      may be taken without further warning from the court.
         There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
      referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
      these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
      (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
      costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
      ¡AVISO! Lo han demandado. Si no responde dentro de 30 días, la corte puede decidir en su contra sin escuchar su versión. Lea la información a
      continuación
        Tiene 30 DÍAS DE CALENDARIO después de que le entreguen esta citación y papeles legales para presentar una respuesta por escrito en esta
      corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefónica no lo protegen. Su respuesta por escrito tiene que estar
      en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
      Puede encontrar estos formularios de la corte y más información en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
      biblioteca de leyes de su condado o en la corte que le quede más cerca. Si no puede pagar la cuota de presentación, pida al secretario de la corte
      que le dé un formulario de exención de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le
      podrá quitar su sueldo, dinero y bienes sin más advertencia.
        Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
      remisión a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
      programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
      (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniéndose en contacto con la corte o el
      colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
      cualquier recuperación de $10,000 ó más de valor recibida mediante un acuerdo o una concesión de arbitraje en un caso de derecho civil. Tiene que
      pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
     The name and address of the court is:                                                                               CASE NUMBER:
     (El nombre y dirección de la corte es):                                                                             (Número del Caso):

     LOS ANGELES COUNTY SUPERIOR COURT
     312 N. SPRING STREET
     LOS ANGELES, CA 90012
     The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
     (El nombre, la dirección y el número de teléfono del abogado del demandante, o del demandante que no tiene abogado, es):
     MAURO FIORE,                  JR.                                                                           626-856-5856                     626-386-5520
     FIORE LEGAL,                  INC.
     136 E. LEMON                  AVENUE
     MONROVIA, CA                  91016
    DATE:                                                               Clerk, by                                                                                     , Deputy
    (Fecha)                                                             (Secretario)                                                                                    (Adjunto)
    (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
    (Para prueba de entrega de esta citatión use el formulario Proof of Service of Summons, (POS-010)).
                                     NOTICE TO THE PERSON SERVED: You are served
     [SEAL]                          1.       as an individual defendant.
                                     2.       as the person sued under the fictitious name of (specify):

                                               3.         on behalf of (specify):

                                                    under:        CCP 416.10 (corporation)                                         CCP 416.60 (minor)
                                                                  CCP 416.20 (defunct corporation)                                 CCP 416.70 (conservatee)
                                                                  CCP 416.40 (association or partnership)                          CCP 416.90 (authorized person)
                                                                  other (specify):
                                              4.          by personal delivery on (date):                                                                                 Page 1 of 1
      Form Adopted for Mandatory Use
        Judicial Council of California
                                                                                   SUMMONS                                                      Code of Civil Procedure §§ 412.20, 465

       SUM-100 [Rev. July 1, 2009]                                                      -5-
Electronically FILED by Superior Court of California, County of Los Angeles on 01/14/2022 02:49 PM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Clifton,Deputy Clerk
                  Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 6 of 70 Page ID #:13
                                                  22STCV01720
                                         Assigned for all purposes to: Spring Street Courthouse, Judicial Officer: Michael Whitaker                                     PLD-PI-001
      ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                                    FOR COURT USE ONLY
      MAURO FIORE,                 JR.
      FIORE LEGAL,                 INC.
      136 E. LEMON                 AVENUE
      MONROVIA, CA                 91016
                TELEPHONE NO:    626-856-5856                      FAX NO. (Optional):   626-386-5520
    E-MAIL ADDRESS (Optional):
        ATTORNEY FOR (Name):     PLAINTIFF
    SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS      ANGELES
             STREET ADDRESS:    312 N. SPRING STREET
              MAILING ADDRESS: SAME
             CITY AND ZIP CODE: LOS ANGELES, CA 90012
                BRANCH NAME:
                 PLAINTIFF:      CESAR ROMO,


          DEFENDANT: BUFFALO WILD WINGS, INC.; INSPIRE BRANDS;
      BLAZING WINGS, INC. AND

         X      DOES 1 TO        20, INCLUSIVE,
      COMPLAINT—Personal Injury, Property Damage, Wrongful Death
              AMENDED (Number):
     Type (check all that apply):
           MOTOR VEHICLE                             X OTHER (specify): PREMISES LIABILITY
               Property Damage                                 Wrongful Death
            X Personal Injury                                  Other Damages (specify):

      Jurisdiction (check all that apply):
            ACTION IS A LIMITED CIVIL CASE                                                                                           CASE NUMBER:

            Amount demanded                does not exceed $10,000
                                           exceeds $10,000, but does not exceed $25,000
        X ACTION IS AN UNLIMITED CIVIL CASE (exceeds $25,000)
            ACTION IS RECLASSIFIED by this amended complaint
                   from limited to unlimited
                   from unlimited to limited
      1. Plaintiff (name or names): CESAR ROMO,

           alleges causes of action against defendant (name or names):                      BUFFALO WILD WINGS, INC.; INSPIRE BRANDS;
           BLAZING WINGS, INC.
      2. This pleading, including attachments and exhibits, consists of the following number of pages:     5
      3. Each plaintiff named above is a competent adult
         a.       except plaintiff (name):
            (1)         a corporation qualified to do business in California
            (2)         an unincorporated entity (describe):
            (3)         a public entity (describe):
            (4)         a minor           an adult
                 (a)        for whom a guardian or conservator of the estate or a guardian ad litem has been appointed
                 (b)        other (specify):
            (5)         other (specify):

           b.           except plaintiff (name):
                (1)         a corporation qualified to do business in California
                (2)         an unincorporated entity (describe):
                (3)         a public entity (describe):
                (4)         a minor              an adult
                       (a)      for whom a guardian or conservator of the estate or a guardian ad litem has been appointed
                       (b)      other (specify):
                (5)           other (specify):


                      Information about additional plaintiffs who are not competent adults is shown in Attachment 3.
                                                                                                                                                                              Page 1 of 3
    Form Approved for Optional Use
     Judicial Council of California
                                                             COMPLAINT—Personal Injury, Property                                                         Code of Civil Procedure, § 425.12

   PLD-PI-001 [Rev. January 1. 2007}                              Damage, Wrongful Death
                                                                              -6-
                Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 7 of 70 Page ID #:14
                                                                                                                                        PLD-PI-001
  SHORT TITLE:           ROMO V. BUFFALO WILD WINGS, INC.; ET AL.                                                  CASE NUMBER:




    4.          Plaintiff (name):
                is doing business under the fictitious name (specify):

                and has complied with the fictitious business name laws.
    5. Each defendant named above is a natural person
       a. X except defendant (name): BUFFALO WILD                                 c.    X except defendant (name): BLAZING WINGS,
           WINGS, INC.                                                                 INC.

               (1)          a business organization, form unknown                      (1)   X a business organization, form unknown
               (2)      X   a corporation                                              (2)      a corporation
               (3)          an unincorporated entity (describe):                       (3)      an unincorporated entity (describe):

               (4)          a public entity (describe):                                (4)      a public entity (describe):

               (5)          other (specify):                                           (5)      other (specify):



          b.    X        except defendant (name):     INSPIRE BRANDS              d.          except defendant (name):


               (1)      X   a business organization, form unknown                      (1)      a business organization, form unknown
               (2)          a corporation                                              (2)      a corporation
               (3)          an unincorporated entity (describe):                       (3)      an unincorporated entity (describe):

               (4)          a public entity (describe):                                (4)      a public entity (describe):

               (5)          other (specify):                                           (5)      other (specify):




                     Information about additional defendants who are not natural persons is contained in Attachment 5.

    6.    The true names of defendants sued as Does are unknown to plaintiff.
          a.    X       Doe defendants (specify Doe numbers): 1 TO 10                        were the agents or employees of other
                        named defendants and acted within the scope of that agency or employment.

          b.    X       Doe defendants (specify Doe numbers): 11 TO 20                         are persons whose capacities are unknown to
                        plaintiff.
    7.               Defendants who are joined under Code of Civil Procedure section 382 are (names):




    8.    This court is the proper court because
          a.       at least one defendant now resides in its jurisdictional area.
          b.       the principal place of business of a defendant corporation or unincorporated association is in its jurisdictional area.
          c. X injury to person or damage to personal property occurred in its jurisdictional area.
          d.       other (specify):




    9.               Plaintiff is required to comply with a claims statute, and
          a.            has complied with applicable claims statutes, or
          b.            is excused from complying because (specify):




PLD-PI-001 [Rev. January 1, 2007]                                                                                                            Page 2 of 3
                                                       COMPLAINT—Personal Injury, Property
                                                            Damage, Wrongful
                                                                        -7- Death
            Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 8 of 70 Page ID #:15
                                                                                                                                        PLD-PI-001
   SHORT TITLE:         ROMO V. BUFFALO WILD WINGS, INC.; ET AL.                                                CASE NUMBER:




 10. The following causes of action are attached and the statements above apply to each (each complaint must have one or more
     causes of action attached):
     a.       Motor Vehicle
     b. X General Negligence
     c.       Intentional Tort
     d.       Products Liability
     e. X Premises Liability
     f.       Other (specify):




 11. Plaintiff has suffered
     a. X wage loss
     b.         loss of use of property
     c. X hospital and medical expenses
     d. X general damage
     e. X property damage
     f. X loss of earning capacity
     g. X other damage (specify): PRE AND               POST JUDGMENT INTEREST




 12.             The damages claimed for wrongful death and the relationships of plaintiff to the deceased are
       a.         listed in Attachment 12.
       b.         as follows:




 13. The relief sought in this complaint is within the jurisdiction of this court.


 14. Plaintiff prays for judgment for costs of suit; for such relief as is fair, just, and equitable; and for
       a. (1)  X compensatory damages
          (2)      punitive damages
          The amount of damages is (in cases for personal injury or wrongful death, you must check (1)):
          (1)  X according to proof
          (2)      in the amount of: $


 15.           The paragraphs of this complaint alleged on information and belief are as follows (specify paragraph numbers):




 Date:      01/06/2022


 MAURO FIORE, JR.
                          (TYPE OR PRINT NAME)                                                   (SIGNATURE OF PLAINTIFF OR ATTORNEY)

                                                                                                                                           Page 3 of 3
PLD-PI-001 [Rev. January 1, 2007]
                                                 COMPLAINT—Personal Injury, Property
                                                      Damage, Wrongful Death
                                                                  -8-
          Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 9 of 70 Page ID #:16
                                                                                                                                    PLD-PI-001(2)
SHORT TITLE:            ROMO V. BUFFALO WILD WINGS, INC.; ET AL.                                         CASE NUMBER:




           FIRST                                 CAUSE OF ACTION—General Negligence                                         Page        4
                       (number)
       ATTACHMENT TO                   X Complaint           Cross - Complaint

       (Use a separate cause of action form for each cause of action.)

        GN-1. Plaintiff (name):         CESAR ROMO,

                   alleges that defendant (name):         BUFFALO WILD WINGS, INC.; INSPIRE BRANDS; BLAZING
                  WINGS, INC. AND



                                X Does 1             to   20, INCLUSIVE,

                   was the legal (proximate) cause of damages to plaintiff. By the following acts or omissions to act, defendant
                   negligently caused the damage to plaintiff
                   on (date): 01/19/2020
                   at (place): 1576 S. AZUSA AVE., CITY OF INDUSTRY, CA 91748

                   (description of reasons for liability):
DEFENFANTS, NEGLIGENTLY, CARELESSLY AND RECKLESSLY OWNED, ENTRUSTED, MANAGED AND
MAINTAINED THEIR PREMISES SO AS TO ALLOW A DANGEROUS CONDITION TO EXIST,
SPECIFICALLY A DIRTY, WET AND SLIPPERY FLOOR IN THE MEN'S RESTROOM. AS A RESULT
PLAINTIFF SLIPPED AND FELL SUSTAINING DAMAGES AND PHYSICAL INJURIES AS ALLEGED
HEREIN.




                                                                                                                                           Page 1 of 1
  Form Approved for Optional Use                                                                                        Code of Civil Procedure 425.12
   Judicial Council of California
PLD-PI-001(2) [Rev. January 1, 2007]
                                              CAUSE OF ACTION—General Negligence

                                                                          -9-
      Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 10 of 70 Page ID #:17

                                                                                                                                       PLD-PI-001(4)
SHORT TITLE:       ROMO V. BUFFALO WILD WINGS, INC.; ET AL.                                                CASE NUMBER:




        SECOND                                       CAUSE OF ACTION—Premises Liability                                       Page        5
                        (number)

   ATTACHMENT TO                     X     Complaint           Cross-Complaint
   (Use a separate cause of action form for each cause of action.)


   Prem.L-1. Plaintiff (name): CESAR ROMO,
             alleges the acts of defendants were the legal (proximate) cause of damages to plaintiff.
             On (date): 01/19/2020                           plaintiff was injured on the following premises in the following

                    fashion (description of premises and circumstances of injury):
                    DEFENFANTS, NEGLIGENTLY, CARELESSLY AND RECKLESSLY OWNED, ENTRUSTED,
                    MANAGED AND MAINTAINED THEIR PREMISES SO AS TO ALLOW A DANGEROUS
                    CONDITION TO EXIST, SPECIFICALLY A DIRTY, WET AND SLIPPERY FLOOR IN
                    THE MEN'S RESTROOM. AS A RESULT PLAINTIFF SLIPPED AND FELL SUSTAINING
                    DAMAGES AND PHYSICAL INJURIES AS ALLEGED HEREIN.




    Prem.L-2.             X Count One--Negligence The defendants who negligently owned, maintained, managed and operated
                            the described premises were (names): BUFFALO WILD WINGS, INC. AND


                                 X       Does   1         to   20

    Prem.L-3.                  Count Two--Willful Failure to Warn [Civil Code section 846] The defendant owners who willfully
                               or maliciously failed to guard or warn against a dangerous condition, use, structure, or activity were
                               (names):

                                      Does                to
                                Plaintiff, a recreational user, was          an invited guest        a paying guest.

    Prem.L-4.                  Count Three--Dangerous Condition of Public Property The defendants who owned public property
                               on which a dangerous condition existed were (names):



                                                Does                to
                               a.          The defendant public entity had         actual            constructive notice of the existence of the
                                           dangerous condition in sufficient time prior to the injury to have corrected it.
                                b.         The condition was created by employees of the defendant public entity.

    Prem.L-5. a.          X Allegations about Other Defendants The defendants who were the agents and employees of the
                            other defendants and acted within the scope of the agency were (names): BUFFALO WILD WINGS,
                            INC.; INSPIRE BRANDS; BLAZING WINGS, INC. AND

                                X        Does   1         to   20
                   b.          The defendants who are liable to plaintiffs for other reasons and the reasons for their liability are
                                   described in attachment Prem.L-5.b        as follows (names):



                                                                                                                                                Page 1 of 1
     Form Approved for Optional Use                                                                                        Code of Civil Procedure, § 425.12
        Judicial Council of California              CAUSE OF ACTION—Premises Liability
    PLD-PI-001(4) [Rev. January 1, 2007]
                                                                              -10-
Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 11 of 70 Page ID #:18




                                                 Exhibit 2

                                       -11-
Electronically FILED by Superior Court of California, County of Los Angeles on 01/14/2022 02:49 PM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Clifton,Deputy Clerk
                 Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 12 of 70 Page ID #:19
                                                  22STCV01720
                                                                                                                                                                              CM-010
        ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                             FOR COURT USE ONLY
        MAURO FIORE,                    JR.
        FIORE LEGAL,                    INC.
        136 E. LEMON                    AVENUE
        MONROVIA, CA                    91016
               TELEPHONE NO.:       626-856-5856                     FAX NO.:   626-386-5520
        ATTORNEY FOR (Name):        PLAINTIFF
        SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS
                                                 ANGELES
             STREET ADDRESS:   312 N. SPRING STREET
             MAILING ADDRESS: SAME
            CITY AND ZIP CODE: LOS ANGELES, CA 90012
                 BRANCH NAME:
        CASE NAME:             ROMO V. BUFFALO WILD WINGS, INC.; ET AL.
            CIVIL CASE COVER SHEET                       Complex Case Designation                CASE NUMBER:

        X Unlimited           Limited                        Counter               Joinder
           (Amount            (Amount                Filed with first appearance by defendant   JUDGE:
           demanded           demanded is
           exceeds $25,000) $25,000 or less)              (Cal. Rules  of Court, rule 3.402)     DEPT:

                                       Items 1-6 below must be completed (see instructions on page 2).
      1. Check one box below for the case type that best describes this case:
            Auto Tort                                               Contract                                            Provisionally Complex Civil Litigation
                 Auto (22)                                               Breach of contract/warranty (06)               (Cal. Rules of Court, rules 3.400-3.403)
                 Uninsured motorist (46)                                   Rule 3.740 collections (09)                         Antitrust/Trade regulation (03)
            Other PI/PD/WD (Personal Injury/Property                     Other collections (09)                                Construction defect (10)
            Damage/Wrongful Death) Tort                                                                                        Mass tort (40)
                                                                         Insurance coverage (18)
                  Asbestos (04)                                          Other contract (37)                                   Securities litigation (28)
                  Product liability (24)                            Real Property                                              Environmental/Toxic tort (30)
                  Medical malpractice (45)                               Eminent domain/Inverse                                Insurance coverage claims arising from the
             X    Other PI/PD/WD (23)                                    condemnation (14)                                     above listed provisionally complex case
                                                                           Wrongful eviction (33)                              types (41)
            Non-PI/PD/WD (Other) Tort
                  Business tort/unfair business practice (07)              Other real property (26)                     Enforcement of Judgment
                  Civil rights (08)                                 Unlawful Detainer                                       Enforcement of judgment (20)
                  Defamation (13)                                          Commercial (31)                             Miscellaneous Civil Complaint
                  Fraud (16)                                               Residential (32)                                    RICO (27)
                  Intellectual property (19)                               Drugs (38)                                          Other complaint (not specified above) (42)
                  Professional negligence (25)                      Judicial Review                                     Miscellaneous Civil Petition
                  Other non-PI/PD/WD tort (35)                             Asset forfeiture (05)                               Partnership and corporate governance (21)
            Employment                                                     Petition re: arbitration award (11)                 Other petition (not specified above) (43)
                Wrongful termination (36)                                  Writ of mandate (02)
                  Other employment (15)                                    Other judicial review (39)
      2. This case           is      X is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
         factors requiring exceptional judicial management:
         a.        Large number of separately represented parties       d.   Large number of witnesses
         b.        Extensive motion practice raising difficult or novel e.   Coordination with related actions pending in one or more courts
                   issues that will be time-consuming to resolve             in other counties, states, or countries, or in a federal court
         c.        Substantial amount of documentary evidence           f.   Substantial postjudgment judicial supervision
      3. Remedies sought (check all that apply): a. X monetary b.           nonmonetary; declaratory or injunctive relief c.           punitive
      4. Number of causes of action (specify): 2
      5. This case          is    X is not a class action suit.
      6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
      Date: 01/06/2022
      MAURO FIORE, JR.
                                        (TYPE OR PRINT NAME)                                                      (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)

                                                                                       NOTICE
           Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
            under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
            in sanctions.
           File this cover sheet in addition to any cover sheet required by local court rule.
           If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
            other parties to the action or proceeding.
           Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                              Page 1 of 2
     Form Adopted for Mandatory Use
       Judicial Council of California
                                                                       CIVIL CASE COVER SHEET                                   Cal. Rules of Court, rules 2.30, 3.220, 3.400–3.403, 3.740;
                                                                                                                                        Cal. Standards of Judicial Administration, std. 3.10
        CM-010 [Rev. July 1, 2007]
                                                                                               -12-
            Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 13 of 70 Page ID #:20
                                   INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                       CM-010
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party, its
counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of attachment.
The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general time-for-service
requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections case will be subject
to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiff's designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                    CASE TYPES AND EXAMPLES
Auto Tort                                        Contract                                          Provisionally Complex Civil Litigation (Cal.
   Auto (22)—Personal Injury/Property              Breach of Contract/Warranty (06)                Rules of Court Rules 3.400–3.403)
        Damage/Wrongful Death                          Breach of Rental/Lease                           Antitrust/Trade Regulation (03)
   Uninsured Motorist (46) (if the                        Contract (not unlawful detainer               Construction Defect (10)
        case involves an uninsured                            or wrongful eviction)                     Claims Involving Mass Tort (40)
        motorist claim subject to                      Contract/Warranty Breach—Seller
                                                          Plaintiff (not fraud or negligence)           Securities Litigation (28)
        arbitration, check this item                                                                    Environmental/Toxic Tort (30)
                                                       Negligent Breach of Contract/
        instead of Auto)                                                                                Insurance Coverage Claims
                                                          Warranty
Other PI/PD/WD (Personal Injury/                       Other Breach of Contract/Warranty                    (arising from provisionally complex
Property Damage/Wrongful Death)                    Collections (e.g., money owed, open                      case type listed above) (41)
Tort                                                   book accounts) (09)                         Enforcement of Judgment
   Asbestos (04)                                       Collection Case—Seller Plaintiff
        Asbestos Property Damage                                                                        Enforcement of Judgment (20)
                                                       Other Promissory Note/Collections
        Asbestos Personal Injury/                                                                           Abstract of Judgment (Out of
                                                              Case
             Wrongful Death                        Insurance Coverage (not provisionally                        County)
   Product Liability (not asbestos or                  complex) (18)                                        Confession of Judgment (non-
        toxic/environmental) (24)                      Auto Subrogation                                         domestic relations)
   Medical Malpractice (45)                            Other Coverage                                       Sister State Judgment
        Medical Malpractice–                       Other Contract (37)                                      Administrative Agency Award
             Physicians & Surgeons                     Contractual Fraud                                        (not unpaid taxes)
        Other Professional Health Care                 Other Contract Dispute                               Petition/Certification of Entry of
             Malpractice                         Real Property                                                  Judgment on Unpaid Taxes
   Other PI/PD/WD (23)                             Eminent Domain/Inverse                                   Other Enforcement of Judgment
        Premises Liability (e.g., slip                 Condemnation (14)                                        Case
             and fall)                             Wrongful Eviction (33)                          Miscellaneous Civil Complaint
                                                   Other Real Property (e.g., quiet title) (26)         RICO (27)
        Intentional Bodily Injury/PD/WD
                                                       Writ of Possession of Real Property              Other Complaint (not specified
             (e.g., assault, vandalism)
                                                       Mortgage Foreclosure                                 above) (42)
        Intentional Infliction of                      Quiet Title
             Emotional Distress                                                                             Declaratory Relief Only
                                                       Other Real Property (not eminent                     Injunctive Relief Only (non-
        Negligent Infliction of                        domain, landlord/tenant, or
             Emotional Distress                                                                                 harassment)
                                                       foreclosure)
        Other PI/PD/WD                                                                                      Mechanics Lien
                                                 Unlawful Detainer
                                                                                                            Other Commercial Complaint
Non-PI/PD/WD (Other) Tort                          Commercial (31)
                                                                                                                Case (non-tort/non-complex)
   Business Tort/Unfair Business                   Residential (32)
                                                                                                            Other Civil Complaint
        Practice (07)                              Drugs (38) (if the case involves illegal                     (non-tort/non-complex)
   Civil Rights (e.g., discrimination,                 drugs, check this item; otherwise,
        false arrest) (not civil                                                                   Miscellaneous Civil Petition
                                                       report as Commercial or Residential)             Partnership and Corporate
        harassment) (08)                         Judicial Review                                            Governance (21)
   Defamation (e.g., slander, libel)               Asset Forfeiture (05)
                                                                                                        Other Petition (not specified
        (13)                                       Petition Re: Arbitration Award (11)
                                                                                                            above) (43)
   Fraud (16)                                      Writ of Mandate (02)
                                                                                                            Civil Harassment
   Intellectual Property (19)                          Writ–Administrative Mandamus
                                                                                                            Workplace Violence
   Professional Negligence (25)                        Writ–Mandamus on Limited Court
                                                                                                            Elder/Dependent Adult
        Legal Malpractice                                 Case Matter
                                                                                                                Abuse
        Other Professional Malpractice                 Writ–Other Limited Court Case
                                                                                                            Election Contest
             (not medical or legal)                       Review
                                                                                                            Petition for Name Change
   Other Non-PI/PD/WD Tort (35)                    Other Judicial Review (39)
                                                                                                            Petition for Relief from Late
Employment                                             Review of Health Officer Order
                                                                                                                Claim
   Wrongful Termination (36)                           Notice of Appeal–Labor
                                                                                                            Other Civil Petition
   Other Employment (15)                                  Commissioner Appeals
CM-010 [Rev. July 1, 2007]                             CIVIL CASE COVER SHEET                                                             Page 2 of 2
                                                                    -13-
     Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 14 of 70 Page ID #:21


 SHORT TITLE RQMO V. BUFFALO WILD WINGS. INC.; ET AL                                                      CASE NUMBER




                                                CIVIL CASE COVER SHEET ADDENDUM AND
                                                            STATEMENT OF LOCATION
               (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
               This form Is required pursuant to Local Rule 2.3 In all new civil case filings In the Los Angeles Superior Court.



        Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010),find the exact case type in
                   Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.


        Step 2: In Column B, check the box for the type of action that best describes the nature of the case.

        Step 3: In Column C, circle the number which explains the reason for the court filing location you have
                   chosen.

                                            Applicable Reasons for Choosing Court Filing Location (Column C)

1. Class actions must be filed In the Stanley Mosk Courthouse, Central District.          7, Location where petitioner resides.
2. Permissive filing in central district.                                                 8. Location wherein defendant/respondent functions wholly.

3. Location where cause of action arose.                                                  9. Location where one or more of the parties reside.
4. Mandatory personal injury filing in North District.                                   10. Location of Labor Commissioner Office.

                                                                                         11. Mandatory filing location (Hub Cases - unlawful detainer, limited
5. Location where performance required or defendant resides.
                                                                                         non-collection, limited collection, or personal injury).
6. Location of property or permanently garaged vehicle.




                                 A                                                              B                                                        C
                     Civil Case Cover Sheet                                             Type of Action                                        Applicable Reasons -
                           Category No.                                                (Check only one)                                          See Step 3 Atjove


                             Auto(22)               □ A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death                    1.4, 11
    S -c
    3    O
   < *-              Uninsured Motorist (46)        □ A7110 Personal Injury/Property Damage/Wrongful Death - Uninsured Motorist               1. 4. 11



                                                    □    A6070 Asbestos Property Damage                                                       1, 11
                          Asbestos (04)
                                                    □    A7221 Asbestos - Personal Injury/Wrongful Death                                      1, 11


    O    £             Product Liability (24)       □ A7260 Product Liability (not asbestos or toxic/environmental)                           1,4. 11
    a.    n
          a>
    £» Q                                                                                                                                      1.4.11
                                                    □    A7210 Medical Malpractice - Physicians & Surgeons
    •5. 3            Medical Malpractice (45)
    -S "Hi                                                                                                                                    1,4, 11
                                                    n    A7240 Other Professional Health Care Malpractice
    s s

    n     0>              Other Personal
                                                    la   A7250 Premises Liability (e.g.. slip and fall)                                       1.4.0
          TO
                         Injury Property            □    A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g..
    S     E                                                                                                                                   1, 4. 11
    ■C   TO
                        Damage Wrongful                        assault, vandalism, etc.)
         Q
                            Death (23)                                                                                                        1.4. 11
                                                    □    A7270   Intentional Infliction of Emotional Distress
                                                                                                                                              1.4. 11
                                                    □    A7220 Other Personal Injury/Property Damage/Wrongful Death




                                                   CIVIL CASE COVER SHEET ADDENDUM                                                         Local Rule 2.3
   LASC CIV 109 Rev. 12/18

   For Mandatory Use                                     AND STATEMENT OF LOCATION                                                            Page 1 of 4

                                                                                  -14-
  Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 15 of 70 Page ID #:22


SHORT TITLE: rqmO V. BUFFALO WILD WINGS. INC.; ET AL.                                                  CASE NUMBER




                              A                                                             B                                               C Applicable
                    Civil Case Cover Sheet                                            Type of Action                                  Reasons - See Step 3
                        Category No.                                                 (Check only one)                                            Above


                      Business Tort(07)          □ A6029 Other Commercial/Business Tort (not fraud/breach of contract)                1.2.3


                       Civil Rights (08)         □ A6005 Civil Rights/Discrimination                                                  1.2. 3

  Q.        o
                       Defamation (13)           □ A6010 Defamation (slander/libel)                                                   1.2. 3

  3         3
  'E* o»                  Fraud (16)             □ A6013 Fraud (no contract)                                                          1.2. 3
  —         c
  n         P
  o ^
                                                 □ A6017 Legal Malpractice                                                            1.2. 3
  I"
  c         E
                 Professional Negligence (25)
                                                 □ A6050 Other Professional Malpractice (not medical or legal)                        1.2, 3
  o         CO
  z o
                          Other(35)              □ A6025 Other Non-Personal Injury/Property Damage tort                               1.2.3


                  Wrongful Termination (36)      □ A6037 Wrongful Termination                                                         1.2.3

    E
    >«
   _o                                            □ A6024 Other Employment Complaint Case                                              1.2. 3
       a.           Other Employment (15)
       E                                         n A6109 Labor Commissioner Appeals                                                   10


                                                 □ A6004 Breach of Rental/Lease Contract (not unlavrful detainer or wrongful
                                                                                                                                      2.5
                                                         eviction)
                 Breach of Contract/ Warranty                                                                                         2.5
                             (06)                □ A6008 Contract/Warranty Breach -Seller Plaintiff (no fraud/negligence)
                       (not insurance)                                                                                                1.2.5
                                                 □ A6019 Negligent Breach of Contract/Warranty (no fraud)
                                                                                                                                      1.2. 5
                                                 □ A6028 Other Breach of Contract/Warranty (not fraud or negligence)

                                                 □   A6002 Collections Case-Seller Plaintiff                                          5. 6. 11
                       Collections (09)
       o
                                                 □   A6012 Other Promissory Note/Collections Case                                     5. 11
   o
                                                 □   A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt                 5. 6. 11
                                                             Purchased on or after Januarv 1.2014)

                   Insurance Coverage (18)       □   A6015 Insurance Coverage (not complex)                                           1.2. 5.8


                                                 □   A6009 Contractual Fraud                                                          1.2. 3.5

                     Other Contract (37)         □   A6031   Tortious Interference                                                    1.2. 3.5

                                                 □   A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)              1.2. 3, 8.9

                   Eminent Domain/Inverse
                                                 □   A7300 Eminent Domain/Condemnation                   Number of parcels            2.6
                      Condemnation (14)

       0)
       o.           Wrongful Eviction (33)       □ A6023 Wrongful Eviction Case                                                       2.6
       o


                                                 □ A6018 Mortgage Foreclosure                                                         2.6
   oc
                   Other Real Property (26)      □   A6032 Quiet Title                                                                2.6

                                                 □   A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)     2.6

                 Unlawful Detainer-Commercial
                                                 □   A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)              6. 11
                             (31)
       c
   '5            Unlawful Detainer-Residential
    "55                                          □   A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)             6. 11
   Q                         (32)
                      Unlawful Detainer-
                                                 □   A6020F Unlawful Detainer-Post-Foreclosure                                        2. 6. 11
                    Post-Foreclosure (34)
       c
   =)            Unlawful Detainer-Drugs (38)    □ A6022 Unlawful Detainer-Drugs                                                      2. 6.11



                                                 CIVIL CASE COVER SHEET ADDENDUM                                                    Local Rule 2.3
 LASC CIV 109 Rev. 12/18
                                                     AND STATEMENT OF LOCATION                                                        Page 2 of 4
 For Mandatory Use
                                                                             -15-
  Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 16 of 70 Page ID #:23


SHORT TITLE: ROMO V. BUFFALO WILD WINGS. INC.; ET AL.                                                   CASE NUMBER




                                A                                                           B                                   C Applicable
                     Civil Case Cover Sheet                                            Type of Action                    Reasons - See Step 3
                          Category No.                                               (Check only one)                               Above


                       Asset Forfeiture(05)         □   A6108 /\sset Forfeiture Case                                     2.3.6


                    Petition re Arbitration (11)    □ A6115 Petition to Compel/Confirm/Vacate Arbitration                2. 5
    I
                                                    □   A6151 Writ - Administrative Mandamus                             2.8
    0£

                       Writ of Mandate (02)         □   A6152 Writ - Mandamus on Limited Court Case Matter               2

                                                    □   A6153 Writ - Other Limited Court Case Review                     2


                    Other Judicial Review (39)      □   A6150 Other Writ/Judicial Review                                 2.8


                  Antitrust/Trade Regulation (03)   □   A6003 Antitrust/Trade Regulation                                 1.2. 8
        O

        cn           Construction Defect (10)       □   A6007 Construction Defect                                        1.2.3


                    Claims Involving Mass Tort                                                                           1.2.8
    jOJ                                             □   A6006 Claims Involving Mass Tort
        o.
                               (40)
        E
        o
    o                Securities Litigation (28)     □ A6035 Securities Litigation Case                                   1.2. 8
        >•

                            Toxic Tort                                                                                   1.2. 3.8
                                                    □   A6036 Toxic Tort/Environmental
                        Environmental (30)

                   Insurance Coverage Claims                                                                             1.2. 5.8
                                                    □ A6014 Insurance Coverage/Subrogation (complex case only)
                     from Complex Case (41)

                                                    □   A6141 Sister State Judgment                                      2. 5. 11

                                                    □   A6160 Abstract of Judgment                                       2.6
  c         c
  «         0)
                                                    □ A6107 Confession of Judgment (non-domestic relations)              2.9
  E         E              Enforcement
  V         o>
  e -o                   of Judgment (20)           □ A6140 Administrative Agency Award (not unpaid taxes)               2.8
  s  =
  c »«—
                                                    □ A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax     2.8
  111       o

                                                    n A6112 Other Enforcement of Judgment Case                           2. 8.9


                            RICO (27)               □ A6033 Racketeering (RICO) Case                                     1.2.8

  3 1                                                                                                                    1.2.8
  9 re                                              □ A6030 Declaratory Relief Only
  g o.
  iS         E                                      □ A6040 Injunctive Relief Only (not domestic/harassment)             2.8
                        Other Complaints
  s <5              (Not Specified Above) (42)      □ A6011 Other Commercial Complaint Case (non-tori/non-complex)       1.2.8

            o                                       □   A6000 Other Civil Complaint (non-tort/non-complex)               1.2.8


                      Partnership Corporation                                                                            2.8
                                                    □ A6113 Partnership and Corporate Governance Case
                         Governance (21)

                                                    □   A6121 Civil Harassment With Damages                              2. 3.9
   W         CO
                                                    □ A6123 Workplace Harassment With Damages                            2. 3.9
   2
   o         o
   0)       •—
   e
   re        aJ                                     □ A6124 Elder/Dependent Adult Abuse Case With Damages                2. 3.9
                        Other Petitions (Not
            Q-
   u        :=         Specified Above) (43)        □   A6190 Election Contest                                           2
   CO        >

  S b                                               □ A6110 Petition for Change of Name/Change of Gender                 2.7

                                                    □   A6170 Petition for Relief from Late Claim Law                    2. 3.8
                                                    □   A6100 Other Civil Petition                                       2.9




                                                    CIVIL CASE COVER SHEET ADDENDUM                                    Local Rule 2.3
 LASC CIV 109 Rev. 12/18
                                                        AND STATEMENT OF LOCATION                                        Page 3 of 4
 For Mandatory Use
                                                                               -16-
   Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 17 of 70 Page ID #:24


 SHORT TITLE roMO V. BUFFALO WILD WINGS, INC.; ET AL                                 CASE NUMBER




Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
            type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
            (No address required for class action cases).

                                                                   ADDRESS

   REASON;                                                                               1576 8. AZUSA AVE.

       1.    2.   3.   4.   5.   6.   7.   8.    9.   10. / 11.




   CITY:                                    STATE:     ZIP CODE:



   CITY OF INDUSTRY                        OA         91748


Step 5: Certification of Assignment: I certify that this case is properly filed in the CENTRAL                               District of
            the Superior Court of California, County of Los Angeles(Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(1)(E)].




  Dated: 01/06/2022
                                                                                 (SIGNATURE OF ATTORNEY/FILI




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:

       1. Original Complaint or Petition,

      2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
      3. Civil Case Cover Sheet, Judicial Council form CM-010.

      4. Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
            02/16).

      5. Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payments.
      6. A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
         minor under 18 years of age will be required by Court in order to issue a summons.

      7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
         must be served along with the summons and complaint, or other initiating pleading in the case.




                                           CIVIL CASE COVER SHEET ADDENDUM                                       Local Rule 2.3
  LASC CIV 109 Rev. 12/18
                                                AND STATEMENT OF LOCATION                                            Page 4 of 4
  For Mandatory Use
                                                                   -17-
Electronically FILED by Superior Court of California, County of Los Angeles on 01/14/2022 02:49 PM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Clifton,Deputy Clerk
                 Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 18 of 70 Page ID #:25
                                                  22STCV01720
                                         Assigned for all purposes to: Spring Street Courthouse, Judicial Officer: Michael Whitaker                                     PLD-PI-001
      ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                                    FOR COURT USE ONLY
      MAURO FIORE,                 JR.
      FIORE LEGAL,                 INC.
      136 E. LEMON                 AVENUE
      MONROVIA, CA                 91016
                TELEPHONE NO:    626-856-5856                      FAX NO. (Optional):   626-386-5520
    E-MAIL ADDRESS (Optional):
        ATTORNEY FOR (Name):     PLAINTIFF
    SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS      ANGELES
             STREET ADDRESS:    312 N. SPRING STREET
              MAILING ADDRESS: SAME
             CITY AND ZIP CODE: LOS ANGELES, CA 90012
                BRANCH NAME:
                 PLAINTIFF:      CESAR ROMO,


          DEFENDANT: BUFFALO WILD WINGS, INC.; INSPIRE BRANDS;
      BLAZING WINGS, INC. AND

         X      DOES 1 TO        20, INCLUSIVE,
      COMPLAINT—Personal Injury, Property Damage, Wrongful Death
              AMENDED (Number):
     Type (check all that apply):
           MOTOR VEHICLE                             X OTHER (specify): PREMISES LIABILITY
               Property Damage                                 Wrongful Death
            X Personal Injury                                  Other Damages (specify):

      Jurisdiction (check all that apply):
            ACTION IS A LIMITED CIVIL CASE                                                                                           CASE NUMBER:

            Amount demanded                does not exceed $10,000
                                           exceeds $10,000, but does not exceed $25,000
        X ACTION IS AN UNLIMITED CIVIL CASE (exceeds $25,000)
            ACTION IS RECLASSIFIED by this amended complaint
                   from limited to unlimited
                   from unlimited to limited
      1. Plaintiff (name or names): CESAR ROMO,

           alleges causes of action against defendant (name or names):                      BUFFALO WILD WINGS, INC.; INSPIRE BRANDS;
           BLAZING WINGS, INC.
      2. This pleading, including attachments and exhibits, consists of the following number of pages:     5
      3. Each plaintiff named above is a competent adult
         a.       except plaintiff (name):
            (1)         a corporation qualified to do business in California
            (2)         an unincorporated entity (describe):
            (3)         a public entity (describe):
            (4)         a minor           an adult
                 (a)        for whom a guardian or conservator of the estate or a guardian ad litem has been appointed
                 (b)        other (specify):
            (5)         other (specify):

           b.           except plaintiff (name):
                (1)         a corporation qualified to do business in California
                (2)         an unincorporated entity (describe):
                (3)         a public entity (describe):
                (4)         a minor              an adult
                       (a)      for whom a guardian or conservator of the estate or a guardian ad litem has been appointed
                       (b)      other (specify):
                (5)           other (specify):


                      Information about additional plaintiffs who are not competent adults is shown in Attachment 3.
                                                                                                                                                                              Page 1 of 3
    Form Approved for Optional Use
     Judicial Council of California
                                                             COMPLAINT—Personal Injury, Property                                                         Code of Civil Procedure, § 425.12

   PLD-PI-001 [Rev. January 1. 2007}                              Damage, Wrongful Death
                                                                              -18-
               Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 19 of 70 Page ID #:26
                                                                                                                                        PLD-PI-001
  SHORT TITLE:           ROMO V. BUFFALO WILD WINGS, INC.; ET AL.                                                  CASE NUMBER:




    4.          Plaintiff (name):
                is doing business under the fictitious name (specify):

                and has complied with the fictitious business name laws.
    5. Each defendant named above is a natural person
       a. X except defendant (name): BUFFALO WILD                                 c.    X except defendant (name): BLAZING WINGS,
           WINGS, INC.                                                                 INC.

               (1)          a business organization, form unknown                      (1)   X a business organization, form unknown
               (2)      X   a corporation                                              (2)      a corporation
               (3)          an unincorporated entity (describe):                       (3)      an unincorporated entity (describe):

               (4)          a public entity (describe):                                (4)      a public entity (describe):

               (5)          other (specify):                                           (5)      other (specify):



          b.    X        except defendant (name):     INSPIRE BRANDS              d.          except defendant (name):


               (1)      X   a business organization, form unknown                      (1)      a business organization, form unknown
               (2)          a corporation                                              (2)      a corporation
               (3)          an unincorporated entity (describe):                       (3)      an unincorporated entity (describe):

               (4)          a public entity (describe):                                (4)      a public entity (describe):

               (5)          other (specify):                                           (5)      other (specify):




                     Information about additional defendants who are not natural persons is contained in Attachment 5.

    6.    The true names of defendants sued as Does are unknown to plaintiff.
          a.    X       Doe defendants (specify Doe numbers): 1 TO 10                        were the agents or employees of other
                        named defendants and acted within the scope of that agency or employment.

          b.    X       Doe defendants (specify Doe numbers): 11 TO 20                         are persons whose capacities are unknown to
                        plaintiff.
    7.               Defendants who are joined under Code of Civil Procedure section 382 are (names):




    8.    This court is the proper court because
          a.       at least one defendant now resides in its jurisdictional area.
          b.       the principal place of business of a defendant corporation or unincorporated association is in its jurisdictional area.
          c. X injury to person or damage to personal property occurred in its jurisdictional area.
          d.       other (specify):




    9.               Plaintiff is required to comply with a claims statute, and
          a.            has complied with applicable claims statutes, or
          b.            is excused from complying because (specify):




PLD-PI-001 [Rev. January 1, 2007]                                                                                                            Page 2 of 3
                                                       COMPLAINT—Personal Injury, Property
                                                            Damage, Wrongful
                                                                        -19- Death
            Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 20 of 70 Page ID #:27
                                                                                                                                        PLD-PI-001
   SHORT TITLE:         ROMO V. BUFFALO WILD WINGS, INC.; ET AL.                                                CASE NUMBER:




 10. The following causes of action are attached and the statements above apply to each (each complaint must have one or more
     causes of action attached):
     a.       Motor Vehicle
     b. X General Negligence
     c.       Intentional Tort
     d.       Products Liability
     e. X Premises Liability
     f.       Other (specify):




 11. Plaintiff has suffered
     a. X wage loss
     b.         loss of use of property
     c. X hospital and medical expenses
     d. X general damage
     e. X property damage
     f. X loss of earning capacity
     g. X other damage (specify): PRE AND               POST JUDGMENT INTEREST




 12.             The damages claimed for wrongful death and the relationships of plaintiff to the deceased are
       a.         listed in Attachment 12.
       b.         as follows:




 13. The relief sought in this complaint is within the jurisdiction of this court.


 14. Plaintiff prays for judgment for costs of suit; for such relief as is fair, just, and equitable; and for
       a. (1)  X compensatory damages
          (2)      punitive damages
          The amount of damages is (in cases for personal injury or wrongful death, you must check (1)):
          (1)  X according to proof
          (2)      in the amount of: $


 15.           The paragraphs of this complaint alleged on information and belief are as follows (specify paragraph numbers):




 Date:      01/06/2022


 MAURO FIORE, JR.
                          (TYPE OR PRINT NAME)                                                   (SIGNATURE OF PLAINTIFF OR ATTORNEY)

                                                                                                                                           Page 3 of 3
PLD-PI-001 [Rev. January 1, 2007]
                                                 COMPLAINT—Personal Injury, Property
                                                      Damage, Wrongful Death
                                                                  -20-
         Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 21 of 70 Page ID #:28
                                                                                                                                    PLD-PI-001(2)
SHORT TITLE:            ROMO V. BUFFALO WILD WINGS, INC.; ET AL.                                         CASE NUMBER:




           FIRST                                 CAUSE OF ACTION—General Negligence                                         Page        4
                       (number)
       ATTACHMENT TO                   X Complaint           Cross - Complaint

       (Use a separate cause of action form for each cause of action.)

        GN-1. Plaintiff (name):         CESAR ROMO,

                   alleges that defendant (name):         BUFFALO WILD WINGS, INC.; INSPIRE BRANDS; BLAZING
                  WINGS, INC. AND



                                X Does 1             to   20, INCLUSIVE,

                   was the legal (proximate) cause of damages to plaintiff. By the following acts or omissions to act, defendant
                   negligently caused the damage to plaintiff
                   on (date): 01/19/2020
                   at (place): 1576 S. AZUSA AVE., CITY OF INDUSTRY, CA 91748

                   (description of reasons for liability):
DEFENFANTS, NEGLIGENTLY, CARELESSLY AND RECKLESSLY OWNED, ENTRUSTED, MANAGED AND
MAINTAINED THEIR PREMISES SO AS TO ALLOW A DANGEROUS CONDITION TO EXIST,
SPECIFICALLY A DIRTY, WET AND SLIPPERY FLOOR IN THE MEN'S RESTROOM. AS A RESULT
PLAINTIFF SLIPPED AND FELL SUSTAINING DAMAGES AND PHYSICAL INJURIES AS ALLEGED
HEREIN.




                                                                                                                                           Page 1 of 1
  Form Approved for Optional Use                                                                                        Code of Civil Procedure 425.12
   Judicial Council of California
PLD-PI-001(2) [Rev. January 1, 2007]
                                              CAUSE OF ACTION—General Negligence

                                                                          -21-
      Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 22 of 70 Page ID #:29

                                                                                                                                       PLD-PI-001(4)
SHORT TITLE:       ROMO V. BUFFALO WILD WINGS, INC.; ET AL.                                                CASE NUMBER:




        SECOND                                       CAUSE OF ACTION—Premises Liability                                       Page        5
                        (number)

   ATTACHMENT TO                     X     Complaint           Cross-Complaint
   (Use a separate cause of action form for each cause of action.)


   Prem.L-1. Plaintiff (name): CESAR ROMO,
             alleges the acts of defendants were the legal (proximate) cause of damages to plaintiff.
             On (date): 01/19/2020                           plaintiff was injured on the following premises in the following

                    fashion (description of premises and circumstances of injury):
                    DEFENFANTS, NEGLIGENTLY, CARELESSLY AND RECKLESSLY OWNED, ENTRUSTED,
                    MANAGED AND MAINTAINED THEIR PREMISES SO AS TO ALLOW A DANGEROUS
                    CONDITION TO EXIST, SPECIFICALLY A DIRTY, WET AND SLIPPERY FLOOR IN
                    THE MEN'S RESTROOM. AS A RESULT PLAINTIFF SLIPPED AND FELL SUSTAINING
                    DAMAGES AND PHYSICAL INJURIES AS ALLEGED HEREIN.




    Prem.L-2.             X Count One--Negligence The defendants who negligently owned, maintained, managed and operated
                            the described premises were (names): BUFFALO WILD WINGS, INC. AND


                                 X       Does   1         to   20

    Prem.L-3.                  Count Two--Willful Failure to Warn [Civil Code section 846] The defendant owners who willfully
                               or maliciously failed to guard or warn against a dangerous condition, use, structure, or activity were
                               (names):

                                      Does                to
                                Plaintiff, a recreational user, was          an invited guest        a paying guest.

    Prem.L-4.                  Count Three--Dangerous Condition of Public Property The defendants who owned public property
                               on which a dangerous condition existed were (names):



                                                Does                to
                               a.          The defendant public entity had         actual            constructive notice of the existence of the
                                           dangerous condition in sufficient time prior to the injury to have corrected it.
                                b.         The condition was created by employees of the defendant public entity.

    Prem.L-5. a.          X Allegations about Other Defendants The defendants who were the agents and employees of the
                            other defendants and acted within the scope of the agency were (names): BUFFALO WILD WINGS,
                            INC.; INSPIRE BRANDS; BLAZING WINGS, INC. AND

                                X        Does   1         to   20
                   b.          The defendants who are liable to plaintiffs for other reasons and the reasons for their liability are
                                   described in attachment Prem.L-5.b        as follows (names):



                                                                                                                                                Page 1 of 1
     Form Approved for Optional Use                                                                                        Code of Civil Procedure, § 425.12
        Judicial Council of California              CAUSE OF ACTION—Premises Liability
    PLD-PI-001(4) [Rev. January 1, 2007]
                                                                              -22-
 Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 23 of 70 Page ID #:30




      22STCV01720, CESAR ROMO vs. BUFFALO WILD WINGS, INC., ET AL.
                                           CA Superior - Los Angeles County

                                                       Los Angeles

                                         This case was retrieved on 04/14/2022


Header

Case Number: 22STCV01720
Date Filed: 01/14/2022
Date Full Case Retrieved: 04/14/2022
Status: Open
Misc: (1085) Premises Liability (e.g.slip & fall) (General Jurisdiction); Civil


Summary

District: Central
Case Type: Civil


Participants

 Litigants                                                     Attorneys
 ROMO CESAR
 Plaintiff
 BLAZING WINGS INC.
 Defendant
 BUFFALO WILD WINGS INC.
 Defendant
 INSPIRE BRANDS
 Defendant



--- Unassociated Attorneys ---

FIORE MAURO

Attorney for Plaintiff




                                                            -23-
Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 24 of 70 Page ID #:31
                                                                                                               Page 2 of 3

                         22STCV01720, CESAR ROMO vs. BUFFALO WILD WINGS, INC., ET AL.


Schedule

Date          Location                                                                       Subject
01/10/2025    at 08:30 AM in Department 32 at 312 North Spring Street, Los Angeles, CA       Order to Show Cause Re:
              90012                                                                          Dismissal
06/30/2023    at 10:00 AM in Department 32 at 312 North Spring Street, Los Angeles, CA       Final Status Conference
              90012
07/14/2023    at 08:30 AM in Department 32 at 312 North Spring Street, Los Angeles, CA       Non-Jury Trial
              90012


Other Docket Proceedings

Date          Details
01/14/2022    Alternate Dispute Resolution Packet Filed by Clerk
01/14/2022    Civil Case Cover Sheet Filed by Cesar Romo (Plaintiff)
01/14/2022    Complaint Filed by Cesar Romo (Plaintiff)
01/14/2022    First Amended Standing Order re: Personal Injury Procedures Filed by Clerk
01/14/2022    Notice of Case Assignment - Unlimited Civil Case Filed by Clerk
01/14/2022    Second Amended Supplemental Standing Order re: COVID Protective Measures Related to Final Status
              Conference Filed by Clerk
01/14/2022    Sixth Amended Standing Order re: Mandatory Settlement Conference Filed by Clerk
01/14/2022    Summons (on Complaint) Filed by Cesar Romo (Plaintiff)
01/14/2022    Third Amended Standing Order re: Final Status Conference Filed by Clerk
01/14/2022    Voluntary Efficient Litigation Stipulation Packet Filed by Clerk
03/17/2022    Proof of Personal Service Filed by Cesar Romo (Plaintiff)


Proceedings

 Date            #                Proceeding Text                                Details
 01/14/2022                                                                      PageCount
                                  Civil Case Cover Sheet
                                                                                 6
 01/14/2022                                                                      PageCount
                                  Complaint
                                                                                 5
 01/14/2022                                                                      PageCount
                                  Notice of Case Assignment - Unlimited Civil
                                                                                 2
                                  Case
 01/14/2022                                                                      PageCount
                                  Summons - SUMMONS ON COMPLAINT
                                                                                 1




                                                                -24-
 Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 25 of 70 Page ID #:32
                                                                                              Page 3 of 3

                         22STCV01720, CESAR ROMO vs. BUFFALO WILD WINGS, INC., ET AL.

 Date              #                 Proceeding Text                              Details
 01/14/2022                                                                       PageCount
                                     Unknown - ALTERNATE DISPUTE
                                                                                  2
                                     RESOLUTION PACKET
 01/14/2022                                                                       PageCount
                                     Unknown - FIRST AMENDED STANDING
                                                                                  7
                                     ORDER RE: PERSONAL INJURY
                                     PROCEDURES
 01/14/2022                                                                       PageCount
                                     Unknown - SECOND AMENDED
                                                                                  3
                                     SUPPLEMENTAL STANDING ORDER RE:
                                     COVID PROTECTIVE MEASURES
                                     RELATED TO FINAL STATUS
                                     CONFERENCE
 01/14/2022                                                                       PageCount
                                     Unknown - SIXTH AMENDED STANDING
                                                                                  2
                                     ORDER RE: MANDATORY SETTLEMENT
                                     CONFERENCE
 01/14/2022                                                                       PageCount
                                     Unknown - THIRD AMENDED STANDING
                                                                                  5
                                     ORDER RE: FINAL STATUS
                                     CONFERENCE
 01/14/2022                                                                       PageCount
                                     Voluntary Efficient Litigation Stipulation
                                                                                  12
                                     Packet
 03/17/2022                                                                       PageCount
                                     Proof of Personal Service
                                                                                  3
 03/17/2022                                                                       PageCount
                                     Proof of Personal Service
                                                                                  3

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                                                                   -25-
     Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 26 of 70 Page ID #:33
                                                                                                Reserved for Clerk’s File Stamp
                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:
 Spring Street Courthouse
 312 North Spring Street, Los Angeles, CA 90012

                   NOTICE OF CASE ASSIGNMENT
                          UNLIMITED CIVIL CASE

                                                                                 CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below. 22STCV01720

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED JUDGE               DEPT     ROOM                  ASSIGNED JUDGE                       DEPT             ROOM
   ✔     Michael E. Whitaker                32




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of Court
       01/14/2022
    on _____________________________                                        R. Clifton
                                                                         By __________________________________, Deputy Clerk
                 (Date)
LACIV 190 (Rev 6/18)       NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE
LASC Approved 05/06                                               -26-
     Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 27 of 70 Page ID #:34
                                   INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE
LASC Approved 05/06                                                 -27-
    Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 28 of 70 Page ID #:35

                    Superior Court of California, County of Los Angeles


                         ALTERNATIVE DISPUTE RESOLUTION (ADR)
                                INFORMATION PACKAGE
 THE PLAINTIFF MUST SERVE THIS ADR INFORMATION PACKAGE ON EACH PARTY WITH THE COMPLAINT.

 CROSS-COMPLAINANTS must serve this ADR Information Package on any new parties named to the action
 with the cross-complaint.



What is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.

Advantages of ADR
   • Saves Time: ADR is faster than going to trial.
   • Saves Money: Parties can save on court costs, attorney’s fees, and witness fees.
   • Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
   • Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or online.

Disadvantages of ADR
    • Costs: If the parties do not resolve their dispute, they may have to pay for ADR, litigation, and trial.
    • No Public Trial: ADR does not provide a public trial or a decision by a judge or jury.

Main Types of ADR
    1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with a
       settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

    2. Mediation: In mediation, a neutral mediator listens to each person’s concerns, helps them evaluate the
       strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
       acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                 Mediation may be appropriate when the parties
                   • want to work out a solution but need help from a neutral person.
                   • have communication problems or strong emotions that interfere with resolution.
                 Mediation may not be appropriate when the parties
                   • want a public trial and want a judge or jury to decide the outcome.
                   • lack equal bargaining power or have a history of physical/emotional abuse.



    LASC CIV 271 Rev. 04/21
    For Mandatory Use
                                                                                                                 Page 1 of 2


                                                            -28-
  Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 29 of 70 Page ID #:36




                                  How to Arrange Mediation in Los Angeles County

      Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:

           a. The Civil Mediation Vendor Resource List
              If all parties in an active civil case agree to mediation, they may contact these organizations
              to request a “Resource List Mediation” for mediation at reduced cost or no cost (for selected
              cases).

                    •     ADR Services, Inc. Case Manager Elizabeth Sanchez, elizabeth@adrservices.com
                          (949) 863-9800
                    •     JAMS, Inc. Assistant Manager Reggie Joseph, RJoseph@jamsadr.com (310) 309-6209
                    •     Mediation Center of Los Angeles Program Manager info@mediationLA.org
                          (833) 476-9145

      These organizations cannot accept every case and they may decline cases at their discretion. They may
      offer online mediation by video conference for cases they accept. Before contacting these organizations,
      review important information and FAQs at www.lacourt.org/ADR.Res.List

      NOTE: The Civil Mediation Vendor Resource List program does not accept family law, probate or small
      claims cases.

           b. Los Angeles County Dispute Resolution Programs
               https://hrc.lacounty.gov/wp-content/uploads/2020/05/DRP-Fact-Sheet-23October19-Current-as-of-October-2019-1.pdf

               Day of trial mediation programs have been paused until further notice.

               Online Dispute Resolution (ODR). Parties in small claims and unlawful detainer (eviction) cases
               should carefully review the Notice and other information they may receive about (ODR)
               requirements for their case.

           c. Mediators and ADR and Bar organizations that provide mediation may be found on the internet.

      3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and
      arguments to the person who decides the outcome. In “binding” arbitration, the arbitrator’s
      decision is final; there is no right to trial. In "nonbinding" arbitration, any party can request a
      trial after the arbitrator’s decision. For more information about arbitration, visit
      http://www.courts.ca.gov/programs-adr.htm

      4. Mandatory Settlement Conferences (MSC): MSCs are ordered by the Court and are often held close
      to the trial date or on the day of trial. The parties and their attorneys meet with a judge or settlement
      officer who does not make a decision but who instead assists the parties in evaluating the strengths and
      weaknesses of the case and in negotiating a settlement. For information about the Court’s MSC
      programs for civil cases, visit http://www.lacourt.org/division/civil/C10047.aspx

      Los Angeles Superior Court ADR website: http://www.lacourt.org/division/civil/C10109.aspx
      For general information and videos about ADR, visit http://www.courts.ca.gov/programs-adr.htm


LASC CIV 271 Rev. 04/21
For Mandatory Use                                                                                           Page 2 of 2
                                                             -29-
Electronically FILED by Superior Court of California, County of Los Angeles on 01/14/2022 02:49 PM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Clifton,Deputy Clerk
                 Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 30 of 70 Page ID #:37
                                                  22STCV01720

                                                    SUMMONS                                                                                                           SUM-100
                                          (CITACION JUDICIAL)                                                                             FOR COURT USE ONLY
                                                                                                                                      (SOLO PARA USO DE LA CORTE)

     NOTICE TO DEFENDANT: BUFFALO WILD WINGS, INC.; INSPIRE
     (AVISO AL DEMANDADO): BRANDS; BLAZING WINGS, INC. AND
     DOES 1 THROUGH 20, INCLUSIVE,




     YOU ARE BEING SUED BY PLAINTIFF: CESAR ROMO,
     (LO ESTÁ DEMANDANDO EL DEMANDANTE):



      NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
      below.
         You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
      served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
      case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
      Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
      the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
      may be taken without further warning from the court.
         There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
      referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
      these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
      (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
      costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
      ¡AVISO! Lo han demandado. Si no responde dentro de 30 días, la corte puede decidir en su contra sin escuchar su versión. Lea la información a
      continuación
        Tiene 30 DÍAS DE CALENDARIO después de que le entreguen esta citación y papeles legales para presentar una respuesta por escrito en esta
      corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefónica no lo protegen. Su respuesta por escrito tiene que estar
      en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
      Puede encontrar estos formularios de la corte y más información en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
      biblioteca de leyes de su condado o en la corte que le quede más cerca. Si no puede pagar la cuota de presentación, pida al secretario de la corte
      que le dé un formulario de exención de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le
      podrá quitar su sueldo, dinero y bienes sin más advertencia.
        Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
      remisión a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
      programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
      (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniéndose en contacto con la corte o el
      colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
      cualquier recuperación de $10,000 ó más de valor recibida mediante un acuerdo o una concesión de arbitraje en un caso de derecho civil. Tiene que
      pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
     The name and address of the court is:                                                                               CASE NUMBER:
     (El nombre y dirección de la corte es):                                                                             (Número del Caso):

     LOS ANGELES COUNTY SUPERIOR COURT
     312 N. SPRING STREET
     LOS ANGELES, CA 90012
     The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
     (El nombre, la dirección y el número de teléfono del abogado del demandante, o del demandante que no tiene abogado, es):
     MAURO FIORE,                  JR.                                                                           626-856-5856                     626-386-5520
     FIORE LEGAL,                  INC.
     136 E. LEMON                  AVENUE
     MONROVIA, CA                  91016
    DATE:                                                               Clerk, by                                                                                     , Deputy
    (Fecha)                                                             (Secretario)                                                                                    (Adjunto)
    (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
    (Para prueba de entrega de esta citatión use el formulario Proof of Service of Summons, (POS-010)).
                                     NOTICE TO THE PERSON SERVED: You are served
     [SEAL]                          1.       as an individual defendant.
                                     2.       as the person sued under the fictitious name of (specify):

                                               3.         on behalf of (specify):

                                                    under:        CCP 416.10 (corporation)                                         CCP 416.60 (minor)
                                                                  CCP 416.20 (defunct corporation)                                 CCP 416.70 (conservatee)
                                                                  CCP 416.40 (association or partnership)                          CCP 416.90 (authorized person)
                                                                  other (specify):
                                              4.          by personal delivery on (date):                                                                                 Page 1 of 1
      Form Adopted for Mandatory Use
        Judicial Council of California
                                                                                   SUMMONS                                                      Code of Civil Procedure §§ 412.20, 465

       SUM-100 [Rev. July 1, 2009]                                                      -30-
           Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 31 of 70 Page ID #:38
Electronically FILED by Superior Court of California, County of Los Angeles on 03/17/2022 10:48 AM Sherri R. Carter, Executive Officer/Clerk of Court, by K. Vaca,Deputy Clerk

                                                                                                                                                                      POS-010
     ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                           FOR COURT USE ONLY
     Gilbert Perez, III SBN 293480
     Law Offices of Mauro Fiore, Jr.
     136 E. Lemon Ave.
     Monrovia, CA 91016
     TELEPHONE NO.:             (626) 856-5856                             FAX NO. (Optional):

     E-MAIL ADDRESS (Optional): gperez@fiorelegal.com
     ATTORNEY FOR (Name):               Plaintiff

     SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES, - STANLEY MOSK (EFILING)
         STREET ADDRESS: 111 N Hill St
         MAILING ADDRESS: 111 N Hill St
        CITY AND ZIP CODE: Los Angeles, CA 90012
            BRANCH NAME: SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES, -
                           STANLEY MOSK (EFILING)

             PLAINTIFF/PETITIONER: Cesar Romo                                                                                      CASE NUMBER:
                                                                                                                                   22STCV01720
      DEFENDANT/RESPONDENT: Buffalo Wild Wings, Inc.

                                                                                                                                   Ref. No. or File No.:
                                          PROOF OF SERVICE SUMMONS                                                                 Cesar Romo


                                                    (Separate proof of service is required for each party served.)

1.         At the time of service I was at least 18 years of age and not a party to this action.                                                           BY FAX

2.         I served copies of: Summons and Complaint; Notice of Case Assignment

3.         a. Party served (specify name of party as shown on documents served): Blazing Wings, Inc.

           b.                Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person
                             under item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
                             Koy Saechao, agent for csc

4.         Address where the party was served: 2710 Gateway Oaks Dr, 150 Sacramento, CA 95833

5.         I served the party (check proper b ox)
           a.           by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to receive
                        service of process for the party (1) on: 3/15/2022 (2) at: 02:41 PM
           b.           by substituted service. On: at: I left the documents listed in item 2 with or in the presence of (name and title or
                        relationship to person indicated in item 3):



                             (1)         (business) a person at least 18 years of age apparently in charge at the office or usual place of business
                                         of the person to be served. I informed him or her of the general nature of the papers.
                             (2)         (home) a competent member of the household (at least 18 years of age) at the dweling house or usual
                                         place of abode of the party. I informed him or her of the general nature of the papers.
                             (3)         (physical address unknown) a person of at least 18 years of age apparently in charge at the usual
                                         mailing address of the person to be served, other than a United States Postal Service post office box. I
                                         informed him or her of the general nature of the papers.
                             (4)         I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at
                                         the place where the copies were left (Code Civ. Proc., § 415.20). I mailed the documents:
                                         on:                    from:                         or       a declaration of mailing is attached.


                                                                                                                                                                         Page 1 of 3

     POS-010 [Rev. January 1, 2007]                               PROOF OF SERVICE OF SUMMONS
                                                                                                                                                            Invoice # 5642648


                                                                                       -31-
           Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 32 of 70 Page ID #:39
     PLAINTIFF/PETITIONER:                         Cesar Romo                                                           CASE NUMBER:
     DEFENDANT/RESPONDENT:                         Buffalo Wild Wings, Inc.                                             22STCV01720


                             (5)              I attach a declaration of diligence stating actions taken first to attempt personal service.


5.         c.                by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the
                             address shown in item 4, by first-class mail, postage prepaid,
                             (1) on:                                                    (2) from:
                             (3)             with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope
                                             addressed to me. (Attach completed Notice and Acknowledgment of Receipt.) (Code Civ. Proc., § 415.30.)

                             (4)             to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40.)

           d.                by other means (specify means of service and authorizing code section):

                             Additional page describing service is attached.

6.         The "Notice to the Person Served" (on the summons) was completed as follows:
           a.          as an individual defendant.
           b.                as the person sued under the fictitious name of (specify):
           c.                as occupant.
           d.                On behalf of (specify): Blazing Wings, Inc.
                             under the following Code of Civil Procedure section:
                                           416.10 (corporation)                                 415.95 (business organization, form unknown)
                                           416.20 (defunct corporation)                         416.60 (minor)
                                           416.30 (joint stock                                  416.70 (ward or conservatee)
                                           company/association)
                                           416.40 (association or partnership)                  416.90 (authorized person)
                                           416.50 (public entity)                               415.46 (occupant)
                                                                                                other:
7.         Person who served papers
           a. Name: Robert J. Mason
           b. Address: 15345 Fairfield Ranch Rd Suite 200, Chino Hills, CA 91709
           c. Telephone number: 909-664-9577
           d. The fee for service was: $110.00
           e. I am:
               (1)         not a registered California process server.
                  (2)              exempt from registration under Business and Professions Code section 22350(b).
                  (3)              a registered California process server:
                                   (i)             owner               employee               independent contractor.
                                   (ii)    Registration No.: 03-007
                                   (iii)   County: Placer




POS-010 [Rev. January 1, 2007]                                                                                                                         Page 2 of 3
                                                                    PROOF OF SERVICE OF SUMMONS
                                                                                                                                             Invoice #: 5642648
                                                                                   -32-
           Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 33 of 70 Page ID #:40
     PLAINTIFF/PETITIONER:                 Cesar Romo                                                          CASE NUMBER:
     DEFENDANT/RESPONDENT:                 Buffalo Wild Wings, Inc.                                            22STCV01720




8.                I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.




                                                                                Robert J. Mason                      Date: 03/16/2022




POS-010 [Rev. January 1, 2007]                                                                                                                Page 3 of 3
                                                           PROOF OF SERVICE OF SUMMONS
                                                                                                                                    Invoice #: 5642648
                                                                            -33-
           Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 34 of 70 Page ID #:41
Electronically FILED by Superior Court of California, County of Los Angeles on 03/17/2022 10:48 AM Sherri R. Carter, Executive Officer/Clerk of Court, by K. Vaca,Deputy Clerk

                                                                                                                                                                      POS-010
     ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                           FOR COURT USE ONLY
     Gilbert Perez, III SBN 293480
     Law Offices of Mauro Fiore, Jr.
     136 E. Lemon Ave.
     Monrovia, CA 91016
     TELEPHONE NO.:             (626) 856-5856                             FAX NO. (Optional):

     E-MAIL ADDRESS (Optional): gperez@fiorelegal.com
     ATTORNEY FOR (Name):               Plaintiff

     SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES, - STANLEY MOSK (EFILING)
         STREET ADDRESS: 111 N Hill St
         MAILING ADDRESS: 111 N Hill St
        CITY AND ZIP CODE: Los Angeles, CA 90012
            BRANCH NAME: SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES, -
                           STANLEY MOSK (EFILING)

             PLAINTIFF/PETITIONER: Cesar Romo                                                                                       CASE NUMBER:
                                                                                                                                    22STCV01720
      DEFENDANT/RESPONDENT: Buffalo Wild Wings, Inc.

                                                                                                                                    Ref. No. or File No.:
                                          PROOF OF SERVICE SUMMONS                                                                  Cesar Romo


                                                    (Separate proof of service is required for each party served.)

1.         At the time of service I was at least 18 years of age and not a party to this action.                                                            BY FAX

2.         I served copies of: Summons and Complaint; Notice of Case Assignment

3.         a. Party served (specify name of party as shown on documents served): Buffalo Wild Wings, Inc.

           b.                Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person
                             under item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
                             Koy Saechao, agent for csc

4.         Address where the party was served: 2710 Gateway Oaks Dr, 150N Sacramento, CA 95833

5.         I served the party (check proper b ox)
           a.           by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to receive
                        service of process for the party (1) on: 3/14/2022 (2) at: 02:44 PM
           b.           by substituted service. On: at: I left the documents listed in item 2 with or in the presence of (name and title or
                        relationship to person indicated in item 3):



                             (1)         (business) a person at least 18 years of age apparently in charge at the office or usual place of business
                                         of the person to be served. I informed him or her of the general nature of the papers.
                             (2)         (home) a competent member of the household (at least 18 years of age) at the dweling house or usual
                                         place of abode of the party. I informed him or her of the general nature of the papers.
                             (3)         (physical address unknown) a person of at least 18 years of age apparently in charge at the usual
                                         mailing address of the person to be served, other than a United States Postal Service post office box. I
                                         informed him or her of the general nature of the papers.
                             (4)         I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at
                                         the place where the copies were left (Code Civ. Proc., § 415.20). I mailed the documents:
                                         on:                    from:                         or       a declaration of mailing is attached.


                                                                                                                                                                         Page 1 of 3

     POS-010 [Rev. January 1, 2007]                                PROOF OF SERVICE OF SUMMONS
                                                                                                                                                        Invoice # 5642476-02


                                                                                       -34-
           Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 35 of 70 Page ID #:42
     PLAINTIFF/PETITIONER:                         Cesar Romo                                                           CASE NUMBER:
     DEFENDANT/RESPONDENT:                         Buffalo Wild Wings, Inc.                                             22STCV01720


                             (5)              I attach a declaration of diligence stating actions taken first to attempt personal service.


5.         c.                by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the
                             address shown in item 4, by first-class mail, postage prepaid,
                             (1) on:                                                    (2) from:
                             (3)             with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope
                                             addressed to me. (Attach completed Notice and Acknowledgment of Receipt.) (Code Civ. Proc., § 415.30.)

                             (4)             to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40.)

           d.                by other means (specify means of service and authorizing code section):

                             Additional page describing service is attached.

6.         The "Notice to the Person Served" (on the summons) was completed as follows:
           a.          as an individual defendant.
           b.                as the person sued under the fictitious name of (specify):
           c.                as occupant.
           d.                On behalf of (specify): Buffalo Wild Wings, Inc.
                             under the following Code of Civil Procedure section:
                                           416.10 (corporation)                                 415.95 (business organization, form unknown)
                                           416.20 (defunct corporation)                         416.60 (minor)
                                           416.30 (joint stock                                  416.70 (ward or conservatee)
                                           company/association)
                                           416.40 (association or partnership)                  416.90 (authorized person)
                                           416.50 (public entity)                               415.46 (occupant)
                                                                                                other:
7.         Person who served papers
           a. Name: Robert J. Mason
           b. Address: 15345 Fairfield Ranch Rd Suite 200, Chino Hills, CA 91709
           c. Telephone number: 909-664-9577
           d. The fee for service was: $105.00
           e. I am:
               (1)         not a registered California process server.
                  (2)              exempt from registration under Business and Professions Code section 22350(b).
                  (3)              a registered California process server:
                                   (i)             owner               employee               independent contractor.
                                   (ii)    Registration No.: 03-007
                                   (iii)   County: Placer




POS-010 [Rev. January 1, 2007]                                                                                                                       Page 2 of 3
                                                                    PROOF OF SERVICE OF SUMMONS
                                                                                                                                        Invoice #: 5642476-02
                                                                                   -35-
           Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 36 of 70 Page ID #:43
     PLAINTIFF/PETITIONER:                 Cesar Romo                                                          CASE NUMBER:
     DEFENDANT/RESPONDENT:                 Buffalo Wild Wings, Inc.                                            22STCV01720




8.                I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.




                                                                                Robert J. Mason                      Date: 03/15/2022




POS-010 [Rev. January 1, 2007]                                                                                                                Page 3 of 3
                                                           PROOF OF SERVICE OF SUMMONS
                                                                                                                                 Invoice #: 5642476-02
                                                                            -36-
     Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 37 of 70 Page ID #:44
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                                                            County of Los Angeles

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 3                      SUPERIOR COURT OF THE STATE OF CALIFORNIA
 4                               FOR THE COUNTY OF LOS ANGELES
 5
       IN RE PERSONAL INJURY                          )   CASE NO.: 22STCV01720
 6
       COURT ("PI COURT'') PROCEDURES                 )
 7     SPRING STREET COURTHOUSE                       )   FIRST AMENDED STANDING ORDER
       (EFFECTIVE FEBRUARY 24, 2020)                  )   RE: PERSONAL INJURY PROCEDURES
 8     _____________                                  )   AT THE SPRING STREET COURTHOUSE
 9
10
11                 ALL HEARINGS ARE SET IN THE DEPARTMENT AS
                   REFLECTED IN THE NOTICE OF CASE ASSIGNMENT
12
                   FINAL STATUS CONFERENCE:
13
14                                    06/30/2023
                              DATE: _________    AT 10:00 A.M.

15                 TRIAL:
16                                    07/14/2023
                              DATE: _________    AT 8:30 A.M.
17
                   OSC RE DISMISSAL
18                 (CODE CIV. PROC., § 583.210):
19                                    01/10/2025
                              DATE: ___ ______ AT 8:30 A.M.
20
21           TO EACH PARTY AND TO THE ATTORNEY OF RECORD FOR EACH PARTY:
22           Pursuant to the California Code of Civil Procedure ("C.C.P."), the California Rules of
23     Court ("C.R.C.") and the Los Angeles County Court Rules ("Local Rules"), the Los Angeles
24     Superior Court ("LASC" or "Court") HEREBY AMENDS AND SUPERSEDES THE
25     SEPTEMBER 26, 2019 STANDING ORDER AND, GENERALLY ORDERS AS FOLLOWS
26     IN THIS AND ALL OTHER GENERAL JURIS DICTION PERSONAL INJURY ("Pl")
27     ACTIONS FILED IN THE CENTRAL DISTRICT.
28     Ill


                                                  Page 1 of 7

              First Amended Standing Order Re Personal-37-
                                                        Injury Procedures, Spring Street Courthouse
Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 38 of 70 Page ID #:45




                                       -38-
Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 39 of 70 Page ID #:46




                                       -39-
Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 40 of 70 Page ID #:47




                                       -40-
Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 41 of 70 Page ID #:48




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Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 42 of 70 Page ID #:49




                                       -42-
Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 43 of 70 Page ID #:50




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     Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 44 of 70 Page ID #:51
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                                                                                     County of Los Angeles

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 4                             SUPERIOR COURT OF THE STATE OF CALIFORNIA
 5                                    FOR THE COUNTYOF LOS ANGELES

 6
       IN RE PERSONAL INJURYCASES                               SIXTH AMENDED STANDING ORDER
 7     ASSIGNED TO PERSONAL INJURY    )                         RE: MANDATORYSETTLEMENT
       COURTROOMS AT THE SPRING STREET)                         CONFERENCE
 8     COURTHOUSE                                               (Effective June 21, 2021)
                                      )
 9
                                                         )
                                                         )
10                                                       )
                                                         )
11                                                       )

12     TO EACH PARTYAND TO THE ATTORNEYOF RECORD FOR EACH PARTY:
13            Pursuant to California Code of Civil Procedure, the California Rules of Court and the Los
14     Angeles Court Rules, the Los Angeles Superior Court (Court) HEREBY AMENDS AND
15     SUPERSEDES THE FEBRUARY 24, 2020 FIFTH AMENDED STANDING ORDER, AND THE
16     COURT HEREBYISSUES THE FOLLOWING SIXTH AMENDED STANDING ORDER:
17            The Court orders the parties to participate in a virtual Mandatory Settlement Conference (MSC)
18     supervised by a judge and staffed by volunteer attorneys who have significant experience in handling
19     these types of cases and are members of the American Board of Trial Advocates, the Association of
20     Southern California Defense Counsel, the Consumer Attorneys Association of Los Angeles, and or the
21     Beverly Hills Bar Association, and have continuing professional interest as officers of the court in its
22     successful operation.
23                1. Plaintiffs counsel shall within two (2) court days of the Court's Order of an MSC access
24                the ResolveLawLA website at www.resolvelawla.com to create an account and register the
25                case for MSC. Plaintiffs counsel must coordinate with defense counsel and select a mutually
26                agreed upon date and time for the MSC prior to the trial date. Plaintiffs counsel shall also
27                provide the name, email address, and phone number for defense counsel when registering
28                the case for an MSC.

                                   STANDING ORDER- Sixth Amended Standing Order
                         re MSC In Re PI Cases Assigned to PI Courtrooms at Spring Street Courthouse
                                                             -44-
     Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 45 of 70 Page ID #:52
                                                                          202 l -SJ-008-00


                2. A mandatory settlement conference statement shall be lodged by each party with the

 2                 ResolveLawLA website and served on all parties not less than five (5) court days before the

 3                 scheduled MSC. The settlement conference statement shall be limited to five (5) pages on

 4                 the MSC Brief and ten ( 10) pages for exhibits. ResolveLawLA MSCs are available at 9 a.m.

 5                 and 1 :30 p.m. Monday through Friday, excluding court holidays, and are conducted via

 6                 Zoom.

 7              3. Pursuant to California Rules of Court, Rule 3. l 380(b) and Los Angeles Superior Court Rule
 8                 3.25(d), trial counsel, the parties and persons with full authority to settle the case (including

9                  insurance company representatives) must attend virtually via the website unless a judge has

10                 excused the virtual appearance for good cause. Once defense counsel is notified that the

11                 matter has been scheduled for a remote MSC, defense counsel shall create their own login to

12                 the resolvelawla.com system, and shall list all parties, party representatives and insurance
13                 adjusters' names, phone numbers, and emails where indicated. In the event the MSC needs

14                 to be canceled, it must be canceled through the ResolveLawLA system.

15              4. If the case settles prior to the scheduled MSC, Plaintiffs counsel shall forthwith notify the

16                 courtroom to which the case is assigned of such settlement. The parties should also document

17                 their settlement agreement in a writing signed by all parties. Upon receiving notification,

18                 the ResolveLawLA system will send notifications via text and/or email and will include a
19                 Zoom link for counsel, the parties, and insurance representatives to join the remote MSC.

20              5. The Court has the discretion to require any party and/or counsel who fails or refuses to

21                 comply with this order, to show cause why the Court should not impose monetary sanctions.

22              IT IS SO ORDERED.

23
24     Dated:
                                                                          Judge David J. Cowan
25                                                                        Supervising Judge, Civil Division
26
27
28

                                     STANDING ORDER- Sixth Amended Standing Order
                           re MSC In Re PI Cases Assigned to PI Courtrooms at Spring Street Courthouse
                                                            -45-
Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 46 of 70 Page ID #:53



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                                                          County of Los Angeles
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 5

 6                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
 7                   FOR THE COUNTY OF LOS ANGELES - CENTRAL DISTRICT
 8

 9   In re Personal Injury Cases Assigned              ) SECOND AMENDED SUPPLEMENTAL
     to the Personal Injury Courts at the              ) STANDING ORDER RE COVID
                                                         PROTECTIVE MEASURES RELATED TO
1o   Spring Street Courthouse                          ) FINAL STATUS CONFERENCES IN
11                                                     ) PERSONAL INJURY CASES AT THE
                                                       ) SPRING STREET COURTHOUSE
12                                                     )
     ----------------
13             In an effort to reduce the number of in-person appearances in the Personal Injury
14   ("Pl") courtrooms located in the Spring Street courthouse and to prevent the transmission of
15   the COVID-19 virus, the court hereby issues this supplemental order to the Third Amended
16   Standing Order re: Final Status Conference Personal Injury Courts dated February 24, 2020
11   ("Operative Pl FSC Order'').
1a            1.     ELECTRONIC TRIAL BINDERS
19            As set forth in the Operative Pl FSC Order, parties/counsel must file and serve Trial
20   Readiness Documents at least five calendar days prior to the FSC. Instead of providing the
21   court that will be conducting the FSC with the trial binders as described in the Operative Pl
22   FSC Order and appearing in person, parties/counsel are ordered to provide the trial binders
23   in electronic form. This will allow parties and attorneys to appear remotely for the final status
24   conference and provide the court with the opportunity to review the trial binders to determine
2s   whether the parties/counsel are ready for trial.      Hard copies of the binders prepared in
26   accordance with the Operative Pl FSC Order will continue to be required for the trial
27   courtroom.
2a   Ill
                                                 Page 1 of 3



           SECOND AMENDED SUPPLEMENTAL STANDING ORDER RE COVID PROTECTIVE MEASURES RELATED TO
             FINAL STATUS CONFERENCES IN PERSONAL INJURY CASES AT THE SPRING STREET COURTHOUSE
                                                -46-
Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 47 of 70 Page ID #:54




           2.     REQUIREMENTS OF ELECTRONIC TRIAL BINDERS

 2         At least two court days before the FSCt parties/counsel must submit via email a joint
 3   electronic trial binder to the courtroom conducting the FSC as follows:

 4         a.     The parties/counsel must submit in one PDF the joint statement of the case,

 5                joint witness list, joint list of jury instructions, full-text joint and contested jury

 6                instructions, joint and/or contested verdict form(s), joint exhibit list, and joint

 7                deposition designation chart as listed in paragraph 4 of the Operative Pl FSC

 8                Order.

 9          b.    The trial briefs and motions in limine, oppositions, and replies, if any, must be

10                submitted in a separate PDF.

11         C.     The PDFs must be text searchable.

12         d.     The PDFs must be bookmarked which is essentially an electronic tab so that

13                the FSC judge can easily find and navigate among the trial documents.

14                (See https://helpx.adobe.com/acrobaVusinq/page-thumbnails-bookmarks-

15                pdfs.html and/or https://support.microsoft.com/en-us/office/ for bookmarking

16                instructions).

17         e.     The PDFs must be emailed to the applicable email address listed below:

18                Department 27 at sscdept27FSC@LACourt.org

19                Department 28 at sscdept28FSC@LACourt.org

20                Department 29 at sscdept29FSC@LACourt.org

21                Department 30 at sscdept30FSC@LACourt.org

22                 Department 31 at sscdept31 FSC@LACourt.org
23                Department 32 at sscdept32FSC@LACourt.org

24         f.     The subject line in the email must include identifying case information as

25                follows:

26                [Insert Case Number] Trial Readiness Binder, FSC, [Insert MM/DD/YEAR of
27                Hearing Date] (e.g. 19STCV00001 Trial Readiness Binder, FSC 01/11/2021).
28
                                                 Page 2 of 3


       SECOND AMENDED SUPPLEMENTAL STANDING ORDER RE COVID PROTECTIVE MEASURES RELATED TO
         FINAL STATUS CONFERENCES IN PERSONAL INJURY CASES AT THE SPRING STREET COURTHOUSE
                                                -47-
Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 48 of 70 Page ID #:55




 1            g.      Each email should have two PDFs attached - one containing the Trial
 2                     Readiness documents and the other containing the trial briefs and motions in
 3                    limine, if applicable.
 4            h.      The parties need not submit the evidentiary exhibit binders at the FSC.
 5                    However, the parties shall prepare the exhibit binders as required in paragraph
 6                    5 of the Operative Pl FSC Order and be prepared to represent to the court that
 7                    they have been properly prepared. Hard copies of the exhibit binders will be
 8                    required for trial.
 9            3.      FAILURE TO COMPLY WITH FSC OBLIGATIONS
10            The court has discretion to require any party/counsel who fails or refuses to comply
11   with this Supplemental Standing Order to show cause why the Court should not impose
12   monetary, evidentiary and/or issue sanctions (including the entry of a default or the striking
13   of an answer). In addition, failure to timely and fully comply with this order may result in the
14   case not being assigned a trial courtroom by Dept. 1.
15

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17   Dated:        10/9 /2.02../
                                                 David J. Cowan
18
                                                 Supervising Judge, Civil
19                                               Los Angeles Superior Court

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                                                  Page 3 of 3


       SECOND AMENDED SUPPLEMENTAL STANDING ORDER RE COVID PROTECTIVE MEASURES RELATED TO
         FINAL STATUS CONFERENCES IN PERSONAL INJURY CASES AT THE SPRING STREET COURTHOUSE
                                                 -48-
Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 49 of 70 Page ID #:56




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 2                                                                  Superior Court of CaHfomla
                                                                      County of Los Angeles

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 7                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
 8                  FOR THE COUNTY OF LOS ANGELES - CENTRAL DISTRICT
 9

10
     IN RE PERSONAL INJURY CASES                            )   THIRD AMENDED STANDING ORDER
11   ASSIGNED TO THE PERSONAL INJURY                        )   RE: FINAL STATVS CONFERENCE,
     COURTS AT THE SPRING STREET                            )   PERSONAL INJURY ("Pf') COURTS
12   COURTHOUSE                                             )   (Effective January 13, 2020)
                                                            )
13

14          The dates for Trial and the Final Status Conference ("FSC") having been set in this matter,

1s   the COURT HEREBY AMENDS AND SUPERSEDES ITS August 9, 2019 STANDING

1s   ORDER RE: FINAL STATUS CONFERENCE, PERSONAL INJURY ("Pl") COURTS AND,
17   GENERALLY ORDERS AS FOLLOWS IN THIS AND ALL OTHER GENERAL
1a   JURISDICTION PERSONAL INJURY ACTIONS:
19

20   1.     PURPOSE OF THE FSC
21          The purpose of the FSC is to verify that the parties/counsel are completely ready to proceed
22   with trial continuously and efficiently, from day to day, until verdict. The PI Courts will verify at the
23   FSC that all parties/counsel have ( 1) prepared the Exhibit binders and Trial Document binders and (2

24   met and conferred in an effort to stipulate to ultimate facts, legal issues, motions in limine, and the
25   authentication and admissibility of exhibits.

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28   II/
                                                      Page 1 of 5

                THIRD AMENDED ORDER RE FINAL STATUS CONFERENCE, PERSONAL INJURY COURTS
                                             (Effective January 13, 2020)
                                                     -49-
Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 50 of 70 Page ID #:57




     2.      TRIAL DOCUMENTS TO BE FILED
 2           At least five calendar days prior to the Final Status Conference, the parties/counsel shall serve

 3   and file the following Trial Readiness Documents:
 4           A.         TRIAL BRIEFS (OPTIONAL)
 5           Each party/counsel may, but is not required to, file a trial brief succinctly identifying:
 6                      (1) the claims and defenses subject to litigation;

 7                      (2) the major legal issues (with supporting points and authorities);

 B                      (3) the relief claimed and calculation of damages sought; and

 9                      (4) any other information that may assist the court at trial.
10           B.         MOTIONS IN LIMINE
11           Before filing motions in Iimine, the parties/counsel shall comply with the statutory notice

12   provisions of Code of Civil Procedure ("C.C.P.") Section I005 and the requirements of Los Angeles
13   County Court Rule ("Local Rule") 3.57(a). The caption of each motion in Iimine shall concisely

14   identify the evidence that the moving party seeks to preclude. Parties filing more than one motion in
15   Iimine shall number them consecutively. Parties filing opposition and reply papers shall identify the
16   corresponding motion number in the caption of their papers.

17           C.         JOINT STATEMENT TO BE READ TO THE JURY
1B           For jury trials, the parties/counsel shall work together to prepare and file a joint written
19   statement of the case for the court to read to the jury (Local Rule 3.25(g)(4)).
20           D.         JOINT WITNESS LIST
21           The parties/counsel shall work together to prepare and file a joint list of all witnesses that
22   each party intends to call, excluding impeachment and rebuttal witnesses (Local Rule 3.25(g)(5)).

23   The joint witness list shall identify each witness by name, specify which witnesses are experts,
24   estimate the length of the direct, cross examination and re-direct examination (if any) of each, and

25   include a total of the number of hours for all witness testimony. The parties/counsel shall identify all
26   potential witness scheduling issues and special requirements. Any party/counsel who seeks to elicit

27   testimony from a witness not identified on the witness list must first make a showing of good cause t
28   the trial court.
                                                         Page 2 of 5

                  THIRD AMENDED ORDER RE FINAL STATUS CONFERENCE, PERSONAL INJURY COURTS
                                                 (Effective January 13, 2020)
                                                       -50-
Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 51 of 70 Page ID #:58




            E.       LIST OF PROPOSED JURY INSTRUCTIONS
 2                   (JOINT AND CONTESTED)
 3          The parties/counsel shall jointly prepare and file a list of proposed jury instructions, organized
 4   in numerical order, specifying the instructions upon which all sides agree and the contested

 5   instructions, if any. The List of Proposed Jury Instructions must include a space by each instruction
 6   for the judge to indicate whether the instruction was given.

 7          F.       JURY INSTRUCTIONS
 a                   (JOINT AND CONTESTED)
 9          The parties/counsel shall prepare a complete set of full-text proposed jury instructions, editing
10   all proposed California Civil Jury Instructions and insert party name(s) and eliminate blanks,
11   brackets, and irrelevant material. The parties/counsel shall prepare special instructions in a format

12   ready for submission to the jury with the instruction number, title, and text only (i.e., there should be

13   no boxes or other indication on the printed instruction itself as to the requesting party).
14          G.       JOINT VERDICT FORM(S)
1s          The parties/counsel shall prepare and jointly file a proposed general verdict form or special
16   verdict form (with interrogatories) acceptable to all sides (Local Rule 3.25(g)(8)). If the
17   parties/counsel cannot agree on a joint verdict form, each party must separately file a proposed

18   verdict form.
19          H.       JOINT EXIDBIT LIST
20          The parties/counsel shall prepare and file a joint exhibit list organized with columns
21   identifying each exhibit and specifying each party's evidentiary objections, if any, to admission of

22   each exhibit. The parties/counsel shall meet and confer in an effort to resolve objections to the
23   admissibility of each exhibit.
24          I.       PAGE AND LINE DESIGNATION FOR
25                   DEPOSITION AND FORMER TESTIMONY
26          If the parties/counsel intend to use deposition testimony or former trial testimony in lieu of
27   any witness's live testimony, the parties/counsel shall meet and confer and jointly prepare and file a
28   chart with columns for each of the following: I) the page and line designations of the deposition or
                                                     Page 3 of 5

                 THIRD AMENDED ORDER RE FINAL STATUS CONFERENCE, PERSONAL INJURY COURTS
                                          (Effective January 13, 2020)
                                                    -51-
Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 52 of 70 Page ID #:59




 1   former testimony requested for use, 2) objections, 3) counter-designations, 4) any responses thereto,

 2   and 5) the Court's ruling.

 3   3.      EVIDENTIARY EXHIBITS

 4          The parties/counsel shall jointly prepare (and be ready to temporarily lodge for inspection at

 5   the FSC) three sets of tabbed, internally paginated by document, and properly-marked exhibits,

 6   organized numerically in three-ring binders (a set for the Court, the Judicial Assistant and the

 7   witnesses). The parties/counsel shall mark all non-documentary exhibits and insert a simple written

 a   description of the exhibit behind the corresponding numerical tab in the exhibit binder. If the parties

 9   have a joint signed exhibit list and electronic copies of their respective exhibits, then the

10   parties/counsel will not be required to produce exhibit binders at the FSC. However, the exhibit

11   binders will be required by the assigned trial judge when the trial commences. In the absence of

12   either a joint signed exhibit list or electronic copies, exhibit binders will be required to be produced

13   by all parties/counsel at the FSC.

14   4.     TRIAL BINDERS REQUIRED IN THE PI COURTS

15          The parties/counsel shall jointly prepare (and be ready to temporarily lodge and include the

16   following for inspection at the FSC) the Trial Documents consisting of conformed copies (if

17   available), tabbed and organized into three-ring binders with a table of contents that includes the

18   following:

19          Tab A:          Trial Briefs (Optional)

20          TabB:           Motions in Limine

21          TabC:           Joint Statement to Be Read to the Jury

22          TabD:           Joint Witness List

23          Tab E:          Joint List of Jury Instructions (identifying the agreed upon and contested

24                          instructions)

25          TabF:           Joint and Contested Jury Instructions

26          TabG:           Joint and/or Contested Verdict Form(s)

27          TabH:           Joint Exhibit List

28

                                                      Page4 of 5

                  THIRD AMENDED ORDER RE FINAL STATUS CONFERENCE, PERSONAL INJURY COURTS
                                              (Effective January 13, 2020)
                                                     -52-
Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 53 of 70 Page ID #:60




              Tab I:         Joint Chart of Page and Line Designation(s) for Deposition and
 2                           Former Testimony

 3            TabJ:          Copies of the Current Operative Pleadings (including the operative complaint,
 4                           answer, cross-complaint, if any, and answer to any cross-complaint).
 s            The parties/counsel shall organize motions in limine (tabbed in numerical order) behind Tab

 6   B with the opposition papers and reply papers for each motion placed directly behind the moving
 7   papers. The parties shall organize proposed jury instructions behind Tab F, with the agreed upon
 B   instructions first in order followed by the contested instructions (including special instructions)
 9   submitted by each side.

10   5.       FAILURE TO COMPLY WITH FSC OBLIGATIONS
11            The court has discretion to require any party/counsel who fails or refuses to comply with this

12   Amended Standing Order to Show Cause why the Court should not impose monetary, evidentiary
13   and/or issue sanctions (including the entry of a default or the striking of an answer).
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     Dated:     r,£,,b . i4--) ~3,.1)
                                                   SA~s<J:~<---
                                                   Supervising Judge of Civil Courts
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                 THIRD AMENDED ORDER RE FINAL STATUS CONFERENCE, PERSONAL INJURY COURTS
                                         (Effective January 13, 2020)
                                                   -53-
Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 54 of 70 Page ID #:61



                               VOLUNTARY EFFICIENT LITIGATION STIPULATIONS


                                  The Early Organizational Meeting Stipulation, Discovery
                               Resolution Stipulation, and Motions in Limine Stipulation are
Superior Court of California
County of Los Angeles
                               voluntary stipulations entered into by the parties. The parties
                               may enter into one, two, or all three of the stipulations;
                               however, they may not alter the stipulations as written,
                               because the Court wants to ensure uniformity of application.
Los Angeles County
Bar Association                These stipulations are meant to encourage cooperation
Litigation Section

Los Angeles County
                               between the parties and to assist in resolving issues in a
Bar Association Labor and
Employment Law Section         manner that promotes economic case resolution and judicial
                               efficiency.

                                  The    following   organizations    endorse    the   goal   of
Consumer Attorneys
Association of Los Angeles     promoting efficiency in litigation and ask that counsel
                               consider using these stipulations as a voluntary way to
                               promote communications and procedures among counsel
                               and with the court to fairly resolve issues in their cases.

                               Los Angeles County Bar Association Litigation Section
Southern California
Defense Counsel

                                          Los Angeles County Bar Association
                                             Labor and Employment Law Section

Association of
Business Trial Lawyers             Consumer Attorneys Association of Los Angeles


                                        Southern California Defense Counsel


                                        Association of Business Trial Lawyers

California Employment
Lawyers Association
                                    California Employment Lawyers Association


   LACIV 230 (NEW)
   LASC Approved 4-11                                -54-
   For Optional Use
   Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 55 of 70 Page ID #:62



NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NUMBER            Reserved for Clerk’s File Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                           CASE NUMBER:
           STIPULATION – EARLY ORGANIZATIONAL MEETING

      This stipulation is intended to encourage cooperation among the parties at an early stage in
      the litigation and to assist the parties in efficient case resolution.

      The parties agree that:

      1. The parties commit to conduct an initial conference (in-person or via teleconference or via
         videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
         whether there can be agreement on the following:

             a. Are motions to challenge the pleadings necessary? If the issue can be resolved by
                amendment as of right, or if the Court would allow leave to amend, could an amended
                complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
                agree to work through pleading issues so that a demurrer need only raise issues they cannot
                resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
                would some other type of motion be preferable? Could a voluntary targeted exchange of
                documents or information by any party cure an uncertainty in the pleadings?

             b. Initial mutual exchanges of documents at the “core” of the litigation. (For example, in an
                employment case, the employment records, personnel file and documents relating to the
                conduct in question could be considered “core.” In a personal injury case, an incident or
                police report, medical records, and repair or maintenance records could be considered
                “core.”);

             c. Exchange of names and contact information of witnesses;

             d. Any insurance agreement that may be available to satisfy part or all of a judgment, or to
                indemnify or reimburse for payments made to satisfy a judgment;

             e. Exchange of any other information that might be helpful to facilitate understanding, handling,
                or resolution of the case in a manner that preserves objections or privileges by agreement;

             f.   Controlling issues of law that, if resolved early, will promote efficiency and economy in other
                  phases of the case. Also, when and how such issues can be presented to the Court;

             g. Whether or when the case should be scheduled with a settlement officer, what discovery or
                court ruling on legal issues is reasonably required to make settlement discussions meaningful,
                and whether the parties wish to use a sitting judge or a private mediator or other options as
      LACIV 229 (Rev 02/15)
      LASC Approved 04/11               STIPULATION – EARLY ORGANIZATIONAL MEETING
      For Optional Use                                                                                                      Page 1 of 2
                                                                         -55-
Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 56 of 70 Page ID #:63
 SHORT TITLE:                                                                      CASE NUMBER:




                discussed in the “Alternative Dispute Resolution (ADR) Information Package” served with the
                complaint;

       h. Computation of damages, including documents, not privileged or protected from disclosure, on
          which such computation is based;

       i.       Whether the case is suitable for the Expedited Jury Trial procedures (see information at
                www.lacourt.org under “Civil” and then under “General Information”).

 2.             The time for a defending party to respond to a complaint or cross-complaint will be extended
                to ____________________ for the complaint, and ______________________ for the cross-
                         (INSERT DATE)                                       (INSERT DATE)
                complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
                and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
                been found by the Civil Supervising Judge due to the case management benefits provided by
                this Stipulation. A copy of the General Order can be found at www.lacourt.org under “Civil”,
                click on “General Information”, then click on “Voluntary Efficient Litigation Stipulations”.

 3.             The parties will prepare a joint report titled “Joint Status Report Pursuant to Initial Conference
                and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
                results of their meet and confer and advising the Court of any way it may assist the parties’
                efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
                the Case Management Conference statement, and file the documents when the CMC
                statement is due.

 4.             References to “days” mean calendar days, unless otherwise noted. If the date for performing
                any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
                for performing that act shall be extended to the next Court day

 The following parties stipulate:
 Date:
                                                                  
                   (TYPE OR PRINT NAME)                                       (ATTORNEY FOR PLAINTIFF)
 Date:
                                                                  
                   (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
 Date:
                                                                  
                   (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
 Date:
                                                                  

                   (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
 Date:
                                                                  
                   (TYPE OR PRINT NAME)                                 (ATTORNEY FOR _____________________)
 Date:
                                                                  
                   (TYPE OR PRINT NAME)                                 (ATTORNEY FOR _____________________)
 Date:
                                                                  
                   (TYPE OR PRINT NAME)                                 (ATTORNEY FOR _____________________)


 LACIV 229 (Rev 02/15)
 LASC Approved 04/11          STIPULATION – EARLY ORGANIZATIONAL MEETING                                  Page 2 of 2
       Print                    Save                      -56-                                           Clear
    Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 57 of 70 Page ID #:64

NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NUMBER            Reserved for Clerk’s File Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                           CASE NUMBER:

                     STIPULATION – DISCOVERY RESOLUTION

      This stipulation is intended to provide a fast and informal resolution of discovery issues
      through limited paperwork and an informal conference with the Court to aid in the
      resolution of the issues.

      The parties agree that:

      1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
         the moving party first makes a written request for an Informal Discovery Conference pursuant
         to the terms of this stipulation.

      2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
         and determine whether it can be resolved informally. Nothing set forth herein will preclude a
         party from making a record at the conclusion of an Informal Discovery Conference, either
         orally or in writing.

      3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
         presented, a party may request an Informal Discovery Conference pursuant to the following
         procedures:

                  a. The party requesting the Informal Discovery Conference will:

                      i.      File a Request for Informal Discovery Conference with the clerk’s office on the
                              approved form (copy attached) and deliver a courtesy, conformed copy to the
                              assigned department;

                     ii.      Include a brief summary of the dispute and specify the relief requested; and

                    iii.      Serve the opposing party pursuant to any authorized or agreed method of service
                              that ensures that the opposing party receives the Request for Informal Discovery
                              Conference no later than the next court day following the filing.

                  b. Any Answer to a Request for Informal Discovery Conference must:

                      i.      Also be filed on the approved form (copy attached);

                     ii.      Include a brief summary of why the requested relief should be denied;
      LACIV 036 (new)
      LASC Approved 04/11                      STIPULATION – DISCOVERY RESOLUTION
      For Optional Use                                                                                                     Page 1 of 3
                                                                         -57-
Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 58 of 70 Page ID #:65
 SHORT TITLE:                                                                   CASE NUMBER:




                iii.   Be filed within two (2) court days of receipt of the Request; and

                iv.    Be served on the opposing party pursuant to any authorized or agreed upon
                       method of service that ensures that the opposing party receives the Answer no
                       later than the next court day following the filing.

       c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
          be accepted.

       d. If the Court has not granted or denied the Request for Informal Discovery Conference
          within ten (10) days following the filing of the Request, then it shall be deemed to have
          been denied. If the Court acts on the Request, the parties will be notified whether the
          Request for Informal Discovery Conference has been granted or denied and, if granted,
          the date and time of the Informal Discovery Conference, which must be within twenty (20)
          days of the filing of the Request for Informal Discovery Conference.

       e. If the conference is not held within twenty (20) days of the filing of the Request for
          Informal Discovery Conference, unless extended by agreement of the parties and the
          Court, then the Request for the Informal Discovery Conference shall be deemed to have
          been denied at that time.

 4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
    without the Court having acted or (c) the Informal Discovery Conference is concluded without
    resolving the dispute, then a party may file a discovery motion to address unresolved issues.

 5. The parties hereby further agree that the time for making a motion to compel or other
    discovery motion is tolled from the date of filing of the Request for Informal Discovery
    Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
    filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
    by Order of the Court.

       It is the understanding and intent of the parties that this stipulation shall, for each discovery
       dispute to which it applies, constitute a writing memorializing a “specific later date to which
       the propounding [or demanding or requesting] party and the responding party have agreed in
       writing,” within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
       2033.290(c).

 6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
    an order shortening time for a motion to be heard concerning discovery.

 7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
    terminate the stipulation.

 8. References to “days” mean calendar days, unless otherwise noted. If the date for performing
    any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
    for performing that act shall be extended to the next Court day.



 LACIV 036 (new)
 LASC Approved 04/11             STIPULATION – DISCOVERY RESOLUTION
 For Optional Use                                                                              Page 2 of 3
                                                        -58-
Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 59 of 70 Page ID #:66
 SHORT TITLE:                                                         CASE NUMBER:




 The following parties stipulate:

 Date:
                                                      
                 (TYPE OR PRINT NAME)                              (ATTORNEY FOR PLAINTIFF)
 Date:
                                                      
                 (TYPE OR PRINT NAME)                             (ATTORNEY FOR DEFENDANT)
 Date:
                                                      
                 (TYPE OR PRINT NAME)                             (ATTORNEY FOR DEFENDANT)
 Date:
                                                      
                 (TYPE OR PRINT NAME)                             (ATTORNEY FOR DEFENDANT)
 Date:
                                                      
                 (TYPE OR PRINT NAME)                     (ATTORNEY FOR _____________________________)
 Date:
                                                      
                 (TYPE OR PRINT NAME)                     (ATTORNEY FOR _____________________________)
 Date:
                                                      
                 (TYPE OR PRINT NAME)                     (ATTORNEY FOR _____________________________)




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 LASC Approved 04/11            STIPULATION – DISCOVERY RESOLUTION
 For Optional Use                                                                              Page 3 of 3
                                               -59-
   Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 60 of 70 Page ID #:67



NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NUMBER                        Reserved for Clerk’s File Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                                      CASE NUMBER:
                        INFORMAL DISCOVERY CONFERENCE
               (pursuant to the Discovery Resolution Stipulation of the parties)
      1. This document relates to:
                              Request for Informal Discovery Conference
                              Answer to Request for Informal Discovery Conference
      2. Deadline for Court to decide on Request: ________________                         (insert date 10 calendar days following filing of
             the Request).

      3. Deadline for Court to hold Informal Discovery Conference: ________________                                (insert date 20 calendar
             days following filing of the Request).

      4. For a Request for Informal Discovery Conference, briefly describe the nature of the
         discovery dispute, including the facts and legal arguments at issue. For an Answer to
         Request for Informal Discovery Conference, briefly describe why the Court should deny
         the requested discovery, including the facts and legal arguments at issue.




      LACIV 094 (new)
      LASC Approved 04/11
                                                  INFORMAL DISCOVERY CONFERENCE
      For Optional Use                  (pursuant to the Discovery Resolution Stipulation of the parties)
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   Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 61 of 70 Page ID #:68



NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NUMBER            Reserved for Clerk’s File Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                           CASE NUMBER:
              STIPULATION AND ORDER – MOTIONS IN LIMINE


      This stipulation is intended to provide fast and informal resolution of evidentiary
      issues through diligent efforts to define and discuss such issues and limit paperwork.


      The parties agree that:

      1. At least ____ days before the final status conference, each party will provide all other
         parties with a list containing a one paragraph explanation of each proposed motion in
         limine. Each one paragraph explanation must identify the substance of a single proposed
         motion in limine and the grounds for the proposed motion.

      2. The parties thereafter will meet and confer, either in person or via teleconference or
         videoconference, concerning all proposed motions in limine. In that meet and confer, the
         parties will determine:

             a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                stipulate, they may file a stipulation and proposed order with the Court.

             b. Whether any of the proposed motions can be briefed and submitted by means of a
                short joint statement of issues. For each motion which can be addressed by a short
                joint statement of issues, a short joint statement of issues must be filed with the Court
                10 days prior to the final status conference. Each side’s portion of the short joint
                statement of issues may not exceed three pages. The parties will meet and confer to
                agree on a date and manner for exchanging the parties’ respective portions of the
                short joint statement of issues and the process for filing the short joint statement of
                issues.

      3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
         a short joint statement of issues will be briefed and filed in accordance with the California
         Rules of Court and the Los Angeles Superior Court Rules.



      LACIV 075 (new)
      LASC Approved 04/11               STIPULATION AND ORDER – MOTIONS IN LIMINE
      For Optional Use                                                                                                     Page 1 of 2
                                                                         -61-
Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 62 of 70 Page ID #:69
 SHORT TITLE:                                                    CASE NUMBER:




 The following parties stipulate:

 Date:
                                                   
                (TYPE OR PRINT NAME)                        (ATTORNEY FOR PLAINTIFF)
 Date:
                                                   
                (TYPE OR PRINT NAME)                       (ATTORNEY FOR DEFENDANT)
 Date:
                                                   
                (TYPE OR PRINT NAME)                       (ATTORNEY FOR DEFENDANT)
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                (TYPE OR PRINT NAME)                       (ATTORNEY FOR DEFENDANT)
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                (TYPE OR PRINT NAME)                   (ATTORNEY FOR _____________________)
 Date:
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                (TYPE OR PRINT NAME)                   (ATTORNEY FOR _____________________)



 THE COURT SO ORDERS.

   Date:
                                                                 JUDICIAL OFFICER




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 LACIV 075 (new)
 LASC Approved 04/11      STIPULATION AND ORDER – MOTIONS IN LIMINE                    Page 2 of 2
                                            -62-
 Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 63 of 70 Page ID #:70




 2
                                                                       FILED
                                                                    LOS ANGELES SUPERIOR COURT

 3                                                                          MAY 11 2011
 4                                                                     JOHN A CLAAKE,AL.EAK
                                                                           :"1( j~.YtU1tJ,N
 5                                                                   BY NANCV~AVAARO, DEPUTY

 6

 7                   SUPERIOR COURT OF THE STATE OF CALIFORNIA
 8                           FOR THE COUNTY OF LOS ANGELES
 9
     General Order Re                           )         ORDER PURSUANT TO CCP 1054(a),
10
     Use of Voluntary Efficient Litigation      )         EXTENDING TIME TO RESPOND BY
11   Stipulations                               )         30 DAYS WHEN PARTIES AGREE
                                                )         TO EARLY ORGANIZATIONAL
12                                              )         MEETING STIPULATION
13

14
            Whereas the Los Angeles Superior Court and the Executive Committee of the
15
     Litigation Section of the Los Angeles County Bar Association have cooperated in
16

17
     drafting "Voluntary Efficient Litigation Stipulations" and in proposing the stipulations for

18   use in general jurisdiction civil litigation in Los Angeles County;

19          Whereas the Los Angeles County Bar Association Litigation Section; the Los
20
     Angeles County Bar Association Labor and Employment Law Section; the Consumer
21
     Attorneys Association of Los Angeles; the Association of Southern California Defense
22

23   Counsel; the Association of Business Trial Lawyers of Los Angeles; and the California

24   Employment Lawyers Association all "endorse the goal of promoting efficiency in
25
     litigation, and ask that counsel consider using these stipulations as a voluntary way to
26
     promote communications and procedures among counsel and with the court to fairly
27
     resolve issues in their cases;"
28

                                                    -1-

                                0RDER PURSUANT TO CCP 1054(a)
                                                    -63-
 Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 64 of 70 Page ID #:71




            Whereas the Early Organizational Meeting Stipulation is intended to encourage

 2   cooperation among the parties at an early stage in litigation in order to achieve

 3   litigation efficiencies;
 4
            Whereas it is intended that use of the Early Organizational Meeting Stipulation
 5
     will promote economic case resolution and judicial efficiency;
 6

 7
            Whereas, in order to promote a meaningful discussion of pleading issues at the

 8   Early Organizational Meeting and potentially to reduce the need for motions to

 9   challenge the pleadings, it is necessary to allow additional time to conduct the Early
10
     Organizational Meeting before the time to respond to a complaint or cross complaint
11
     has expired;
12

13
            Whereas Code of Civil Procedure section 1054(a) allows a judge of the court in

14   which an action is pending to extend for not more than 30 days the time to respond to
15
     a pleading "upon good cause shown";
16
            Now, therefore, this Court hereby finds that there is good cause to extend for 30
17
     days the time to respond to a complaint or to a cross complaint in any action in which
18

19   the parties have entered into the Early Organizational Meeting Stipulation. This finding

20   of good cause is based on the anticipated judicial efficiency and benefits of economic
21
     case resolution that the Early Organizational Meeting Stipulation is intended to
22
     promote .
23
            IT IS HEREBY ORDERED that, in any case in which the parties have entered
24

25   into an Early Organizational Meeting Stipulation, the time for a defending party to

26   respond to a complaint or cross complaint shall be extended by the 30 days permitted
27

28

                                                -2-

                                0RDER PURSUANT TO CCP 1054(a)
                                                -64-
       Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 65 of 70 Page ID #:72
,,.

           by Code of Civil Procedure section 1054(a) without further need of a specific court

       2   order.




       :   DATED:   ltu5 ~ Joi/                     Carolyn B. Kuh Supervising Judge of the
                                                    Civil Departments, Los Angeles Superior Court
       6

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                                    0RDER PURSUANT TO CCP 1054(a)
                                                     -65-
Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 66 of 70 Page ID #:73




                                                 Exhibit 3

                                       -66-
    Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 67 of 70 Page ID #:74


Natalie Guzman

From:                                     Gilbert Perez <gperez@fiorelegal.onmicrosoft.com>
Sent:                                     Tuesday, April 19, 2022 11:58 AM
To:                                       Nikki K. Orr
Cc:                                       Kathleen M. Klein; Natalie Guzman; Faviola Palencia; Amairany Castrellon
Subject:                                  Re: CESAR ROMO V. BWW, ET AL.


 External Message

Hello Nikki – Extension granted to May 20, 2022 for Defendants’ Answer to Complaint. We look forward to
working with you.




                                                 Best,
                                                 Gilbert Perez, III
                                                 Trial Lawyer

                                                 136 E. Lemon Ave.
                                                 Monrovia, CA 91016
 Personal Injury – Workers’ Comp – Employment
                                                 Tel.: (626) 856-5856
                                                 Direct Line/Fax: (626) 800-2296
                                                 http://www.fiorelegal.com/


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From: Nikki K. Orr <NOrr@clausen.com>
Date: Tuesday, April 19, 2022 at 10:23 AM
To: Amairany Castrellon <ACastrellon@fiorelegal.com>, Gilbert Perez <gperez@fiorelegal.onmicrosoft.com>
Cc: Kathleen M. Klein <kklein@clausen.com>, Natalie Guzman <NGuzman@clausen.com>
Subject: CESAR ROMO V. BWW, ET AL.

Good Morning,

It was a pleasure speaking with you today. As discussed, we were recently retained in this matter and represent Buffalo
Wild Wings, Inc.; Inspire Brands; and Blazing Wings, Inc. We understand that the Defendants’ responses to the
Complaint are currently due on May 6, 2022. However, as we were just recently brought into this matter, we are
requesting an extension to May 20, 2022 to respond. In addition, could you please let us know your client’s alleged
injuries and expenses associated with plaintiff’s claims?
                                                                      1

                                                                  -67-
     Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 68 of 70 Page ID #:75


Thank you,

Nikki K. Orr | Associate
Clausen Miller P.C. | 27285 Las Ramblas, Suite 200 | Mission Viejo, California 92691
949.260.3133 | vCard | bio




Clausen Miller P.C. Illinois • New York • California • New Jersey • Indiana • Wisconsin • Connecticut • Florida
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Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 69 of 70 Page ID #:76



  1                                 PROOF OF SERVICE
  2
           I am employed in the County of Orange, State of California. I am over the age
  3 of 18 and not a party to the within action; my business address is 27285 Las Ramblas,
    Suite 200, Mission Viejo, California 92691
  4
  5          On May 23, 2022, I caused the following document(s) to be served on the
      interested parties in this action as follows:
  6
               DECLARATION OF IAN R. FELDMAN IN SUPPORT OF
  7         DEFENDANTS BUFFALO WILD WINGS, INC., INSPIRE BRANDS
  8           AND BLAZIN WINGS, INC.’S NOTICE OF REMOVAL OF
             ENTIRE ACTION PURSUANT TO 28 U.S.C. SECTION 1441(B)
  9
    [X] BY ELECTRONIC SERVICE: I caused such documents to be transmitted and
 10
    electronically served in compliance with the Local Rules of Court, California Rules of
 11 Court Rule 2.251 and Code of Civil Procedure §1010.6, on this date via
    internet/electronic mail, on all parties in this case as a PDF attachment to the email
 12
    addresses listed on the attached service list.
 13
    [X] BY ELECTRONIC FILING AND SERVICE: By electronic filing and service
 14 of the foregoing document(s) using the CM/ECF System in accordance with F.R.C.P.
 15 5(b)(2)(E) and Civil Local Rule 5.4, I electronically filed the above-listed documents
    by using the CM/ECF system. Participants in the case who are registered CM/ECF
 16 users will be served by the CM/ECF system.
 17
    [X] BY FEDERAL: I declare under penalty of perjury under the laws of the United
 18 States of America that I am employed in the office of a member of the bar of this court
 19
    at whose direction the service was made.

 20       I declare under penalty of perjury under the laws of the State of California that
    the foregoing is true and correct. Executed on May 20, 2022, at Mission Viejo,
 21 California.
 22
 23                                        /s/ Natalie B. Guzman
 24                                        Natalie B. Guzman
 25
 26
 27
 28
                                               -69-
                                                                     CERTIFICATE OF SERVICE
Case 2:22-cv-03509-SVW-PVC Document 1-1 Filed 05/23/22 Page 70 of 70 Page ID #:77



  1                                      SERVICE LIST
  2                           Romo v. Buffalo Wild Wings, Inc., et al.
  3                Our Clients: Defendants BUFFALO WILD WINGS, INC.;
  4                    INSPIRE BRANDS; AND BLAZIN WINGS, INC.

  5   Mauro Fiore, Jr., Esq.                           Attorneys for Plaintiff
      Gilbert Perez, III, Esq.                         CESAR ROMO
  6
      Law Offices of Mauro Fiore, Jr.
  7   136 E. Lemon Avenue
      Monrovia, CA 91016
  8
  9   Telephone:   (626) 856-5856
      Facsimile:   (626) 386-5520
 10   Email:       mfiore@fiorelegal.com
                   gperez@fiorelegal.com
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                                                                                 SERVICE LIST
